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08:38:02    1
                               IN THE UNITED STATES DISTRICT COURT
            2                     SOUTHERN DISTRICT OF FLORIDA
                                      ~~~~~~~~~~~~~~~~~~~~
            3

            4
                   IRA KLEIMAN, as the personal    ) CASE NO.:
            5      representative of the Estate    )
                   of David Kleiman, and W&K Info  ) 9:18-cv-8016-BB/BR
            6      Defense Research, LLC           )
                                                   )
            7                   Plaintiffs,        )
                                                   )
            8                                      )
                   v.                              )
            9                                      )
                                                   )
           10      CRAIG WRIGHT                    )
                                                   )
           11                   Defendant.         )
                   _______________________________ )
           12

           13
                         VIDEOTAPED DEPOSITION OF MS LYNN CARROLL WRIGHT
           14

           15
                   ON:          Monday, January 13, 2020
           16
                   AT:          8.57am (Australian Eastern Daylight Savings
           17                           Time)

           18
                   TAKEN AT:    95 Woodview Avenue,
           19                   Lisarow, NSW, 2250

           20
                   COURT REPORTER:    Sally Hicks, JP
           21

           22
                   Defendant's Designations
           23      Plaintiffs' Objections
                   Plaintiffs'
                    l i iff    Counters
           24

           25



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      1                            A-P-P-E-A-R-A-N-C-E-S

      2       ON BEHALF OF THE PLAINTIFFS:

      3                ROCHE FREEDMAN LLP
                       185 WYTHE AVENUE
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      5
              BY:      MR KYLE W. ROCHE
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                       BOIES SCHILLER FLEXNER LLP
      7                100 SE 2ND STREET, SUITE 2800
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      8                PH: +1 305 539-8400

      9       BY:      MR ANDREW S.     BRENNER

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              ON BEHALF OF THE DEFENDANT:
     11
                       RIVERO MESTRE LLP
     12                2525 PONCE DE LEON BOULEVARD,
                       SUITE 1000,
     13                MIAMI, FLORIDA 33134
                       +1 305 445-2500
     14
              BY:      MS ZAHARAH R. MARKOE
     15

     16

     17       ALSO PRESENT:

     18                (IN AUSTRALIA)
                       Mr Wayne Matthews, Videographer
     19                Ms Sati Nagra (Solicitor) King & Wood Mallesons
                       Mr Nathan Sexton (Solicitor) Piper Alderman
     20
                       (IN THE USA)
     21                Mr Joe Delich (with Mr Kyle Roche)
                       Ms Amanda McGovern (with Ms Zaharah Markoe)
     22

     23

     24

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                                        Mr Kyle Roche            40
      4                                 Ms Zaharah Markoe       138

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      6
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      7
               1       Series of emails dated February 15, 2015              10
      8                commencing with Bates stamp DEF_00009663

      9        2       Email dated February March 24, 2014                   13
                       commencing with Bates stamp DEFAUS_00706832
     10
               3       Agreed Property Settlement and Terms                  22
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     12        4       Plaintiffs' Cross-Notice of Taking Video              85
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               5       Series of emails dated April 20 2015                  86
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     15        6       Affidavit of Lynn Wright dated November 5,            93
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     16                DEFAUS_01070641

     17        7       Agreement between Craig Steven Wright and            101
                       Carroll Lynn Wright dated June 30, 2009
     18                (Bates stamp reference not provided)

     19        8       Email dated October 23, 2013 commencing              109
                       with Bates stamp ending 75974
     20
               9       Paper titled "How can the Australian Tax             109
     21                Office benefit from Bitcoin Currency?"
                       commencing with Bates stamp ending 75975
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      1
              12       Email dated November 21, 2011,                       121
      2                Bates stamped DEFAUS_00698432

      3       13       Sale Agreement between Information Defense           131
                       Pty Ltd and Lynn Wright/Cloudcroft Pty Ltd
      4                commencing with Bates stamp ending 01212940

      5       14       Letter from Lynn Wright to the Australian            138
                       Taxation Office dated March 22, 2011
      6                commencing with Bates stamp DEFAUS_01559250

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            1      (8.57am)

08:57:46    2          THE VIDEOGRAPHER:        This is videotape number 1 in

08:57:48    3      the deposition of Lynn Carroll Wright in the matter of

08:57:52    4      Ira Kleiman, as the personal representative of the Estate

08:57:56    5      of David Kleiman, and W&K Info Defense Research, LLC,

08:58:05    6      versus Craig Wright, in the United States District Court,

08:58:08    7      Southern District of Florida.      The case number is

08:58:15    8      9:18-cv-80176-BB/BR.       Today's date is the 13th day

08:58:26    9      of January 2020, and the time on the video monitor is

08:58:30   10      8.58am.

08:58:31   11                 This deposition is taking place at 95 Woodview

08:58:35   12      Avenue, Lisarow, in New South Wales, Australia.         The

08:58:39   13      videographer today is Wayne Matthews from Epiq Australia.

08:58:43   14      Would counsel please identify yourselves and state whom

08:58:45   15      you represent.

08:58:49   16          MS MARKOE:      Zaharah Markoe on behalf of

08:58:52   17      Dr Craig Wright, and with me is my colleague,

08:58:55   18      Amanda McGovern, also on behalf of Dr Craig Wright, in

08:58:59   19      Florida from Rivero Mestre.

08:59:00   20          MR ROCHE:      Kyle Roche, on behalf of plaintiffs.

08:59:01   21      I'm here with Joe Delich.

08:59:05   22          MR BRENNER:      Andrew Brenner on behalf of the

08:59:07   23      plaintiffs.

08:59:09   24          THE VIDEOGRAPHER:        Do we have anybody else in the

08:59:11   25      USA on the phone?    No?    All right.   In Australia we have



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08:59:15    1      in the room --

08:59:19    2          MR SEXTON:      Nathan Sexton from Piper Alderman.

08:59:25    3          MS NAGRA:      Sati Nagra from King & Wood Mallesons.

08:59:27    4          THE VIDEOGRAPHER:       The court reporter today is

08:59:29    5      Sally Hicks from the firm of Epiq Australia.       Would the

            6      court reporter please swear in the witness.

            7                 (The witness was sworn)

            8          THE VIDEOGRAPHER:       Proceed, ladies and gentlemen.

08:59:51    9          MR ROCHE:      I also just wanted to declare that Ira -

08:59:55   10      I didn't hear it.      Ira Kleiman is also on.   He informed

08:59:59   11      me he tried to speak up, but I don't know if the court

09:00:04   12      reporter caught it.

           13          THE COURT REPORTER:       No, I didn't.   Thank you.

           14                          LYNN CARROLL WRIGHT,

           15                         having been duly sworn,

           16                          testified as follows:

           17      DIRECTION EXAMINATION BY MS MARKOE:

09:00:06   18          Q.     Good morning, Lynn - if that's okay, that

09:00:12   19      I call you Lynn?

09:00:14   20          A.     Yes, yes.

09:00:16   21          Q.     My name is Zaharah Markoe.     I'm with the law

09:00:17   22      firm of Rivero Mestre in Miami, Florida, United States of

09:00:21   23      America.   My firm represents Dr Craig Wright.      I am going

09:00:24   24      to ask you some questions.       If you do not understand my

09:00:26   25      questions, please let me know, and I will try to clarify



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09:00:29    1      or rephrase my question for you.

09:00:32    2          A.   Yes.

09:00:33    3          Q.   If I have got something wrong in my question,

09:00:35    4      you correct it.    If you need a break for any reason,

09:00:40    5      please let me know and we can take a break at any time

09:00:43    6      you wish, but I would request that the - if there is a

09:00:46    7      question pending, that prior to taking a break, you

09:00:50    8      answer the question that is currently pending.

09:00:53    9          A.   Yes, okay.

09:00:55   10          Q.   Are you represented by counsel here today?

09:00:58   11          A.   No.

09:01:00   12          Q.   Do you understand that you are here to provide

09:01:02   13      testimony in a case pending in the United States District

09:01:06   14      Court, for the Southern District of Florida in the United

09:01:09   15      States, titled "Ira Kleiman, as the personal

09:01:11   16      representative for the Estate of David Kleiman, and

09:01:14   17      W&K Information Defense Research Limited (Plaintiffs),

09:01:17   18      versus Craig Wright (Defendant)"?

09:01:21   19          A.   Yes, I'm aware of that.

09:01:23   20          Q.   And do you understand that the testimony you

09:01:24   21      provide today may be used in that trial and presented

09:01:27   22      before the jury?

09:01:28   23          A.   Yes, I'm aware of that.

09:01:34   24          Q.   Your only job today is to provide truthful and

09:01:36   25      accurate testimony, based on your personal knowledge.



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09:01:39    1      Please do not speculate or guess.     If you don't know the

09:01:43    2      answer to the question, just say you don't know or don't

09:01:46    3      recall.    Whatever answer is accurate is all you need to

09:01:48    4      do.   I am providing you some of this information because

09:01:52    5      you are not represented here by counsel.

09:01:54    6                 Do you have any medical conditions that affect

09:01:56    7      your ability to provide truthful and accurate testimony

09:01:58    8      today?

09:01:59    9            A.   No.

09:02:06    0
           10            Q.   Have you and I met personally before?

09:02:08   11            A.   Never.

09:02:10   12
            2            Q.   Have you met my colleague, Ms McGovern, in

09:02:12   13
            3      person before?

09:02:13   14
            4            A.   No.

09:02:13    5
           15            Q.   Have we spoken by telephone before?

09:02:16   16
            6            A.   Yes.

09:02:18   17
            7            Q.   And have you spoken with my colleague,

09:02:19   18
            8      Ms McGovern, by telephone before?

09:02:24   19
            9            A.   Yes.

09:02:25   20
            0            Q.   Approximately how many times have you spoken

09:02:26   21      with either or both of us collectively?

09:02:31   22
            2            A.   Three, maybe four times.    I'm not - I don't

09:02:33   23
            3      recall.

09:02:42   24
            4            Q.   Can you please state your legal name for the

09:02:45   25
            5      record?



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09:02:46    1          A.    Lynn Carroll Wright.

09:02:49    2          Q.    Are you a resident of Australia?

09:02:51    3          A.    Yes.

09:02:55    4          Q.    Were you previously married to Dr Craig Steven

09:03:00    5      Wright?

09:03:00    6          A.    Yes.

09:03:01    7          Q.    From when to when were you married to Craig?

09:03:06    8          A.    End of '96 to - 2011 I think was the divorce.

09:03:19    9          Q.    Was that when you had a formal separation or

09:03:23   1
           10      was that when you had a formal divorce decree, or do you

09:03:26   11
           1       not recall?

09:03:27   12
           1           A.    The formal separation, I believe, started in

09:03:37   13
           1       November of 2010.

           14                (Muffled discussion heard through Skype link)

           15          MR ROCHE:      Oh, sorry.

           16          MS MARKOE:      Kyle, we can hear you.

           17          MR ROCHE:      Yeah, I'll make   sure to mute next time.

           18      BY MS MARKOE:

09:04:09   19          Q.    Are you familiar with a company called

09:04:13   20      W&K Information Defense Research, LLC?

           21          A.    Yes.

09:04:20   22          Q.    Do you have personal knowledge of the formation

09:04:23   23      of - I'm going to - if you don't mind, I will just call

09:04:25   24      it "W&K", it's a little shorter --

09:04:28   25          A.    No, no, that's fine.



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            1          Q.    -- than that whole long spiel.

09:04:29    2          A.    Yeah, okay.

09:04:30    3          Q.    Do you have personal knowledge of the formation

09:04:32    4      of that company?

09:04:34    5          A.    Yes.

09:04:38    6          Q.    Do you recall approximately when W&K was

09:04:41    7      formed?

09:04:44    8          A.    Oh, it - I - I don't know the date.      It's

09:04:54    9      probably around 2008/2009.     I'm not really sure.

09:05:02   1
           10          Q.    So it could have been in 2008/2009, it could

09:05:05   11
           1       have been later than that.     You just - you don't have a

09:05:07   12
           1       good recollection for the date of when it was formed?

09:05:09   13
           1           A.    That's - that's right, yes.

09:05:14   14          Q.    I'm going to have - and this may help refresh

09:05:21   15      your recollection a little bit, hopefully.      I'm going to

09:05:25   16      have counsel from Piper Alderman - I believe they have

09:05:30   17      hard copies of some documents for you, to show you.       I'm

09:05:33   18      going to have them show you what I have called "tab 4",

09:05:37   19      but we will mark it as exhibit 1 for this exhibit -

09:05:41   20      exhibit 1 to this deposition.

           21                (Exhibit 1 marked for identification)

09:05:46   22          MS MARKOE:     Counsel, I believe we have sent these

09:05:48   23      documents over to you by email, but if you prefer it,

09:05:50   24      I will read out the Bates number, if that's easier for

09:05:54   25      you guys, too?



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09:05:55    1             MR BRENNER:     Yeah, can you read out the Bates

09:05:57    2      number?

09:05:58    3             MS MARKOE:    Sure.    DEF_00009663 through 4.

            4      BY MS MARKOE:

09:06:12    5             Q.   Lynn, do you have that document in front of

09:06:14    6      you?

09:06:15    7             A.   Yes, I do.       It's - I'm just going over it.

09:06:17    8      It's just very small print.

09:06:19    9             Q.   It is very small print.          I apologize for that.

09:06:23   10      If you take a moment and just read over it, you start at

09:06:28   11      the bottom and read from the top, because it is an email

09:06:31   12      chain.

09:06:31   13             A.   Oh, okay.

09:06:32   14             Q.   And just let me know when you're done.

09:07:28   15             A.   Okay.

09:07:37   16             Q.   Ms Wright, before I actually turn to this

09:07:39   17      document, I have another quick question for you.            You

09:07:44   18      said you're familiar with the company named W&K

09:07:50   19      Information Defense Research and you have personal

09:07:51   20      knowledge of its formation?

09:07:52   21             MR ROCHE:     Objection.      Form.

           22      BY MS MARKOE:

09:08:00   23             Q.   Do you know what the "W" in W&K Information

09:08:05   24      Defense Research stood for?

09:08:06   25             A.   For Wright.



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09:08:10    1          Q.     Okay.   And did that stand for Craig Wright or

09:08:14    2      Lynn Wright?

09:08:16    3          A.     Lynn Wright.

09:08:20    4          Q.     For Lynn Wright?

09:08:20    5          A.     Yes.

09:08:23    6          Q.     And what did the "K" stand for?

09:08:26    7          A.     For Dave Kleiman.

09:08:29    8          Q.     And what did "Information Defense" stand for?

09:08:33    9          A.     That was Craig.

09:08:37   1
           10          Q.     So the company W&K Information Defense Research

09:08:42   11
           1       stood for Lynn Wright, Dave Kleiman and Craig Wright; is

09:08:47   12
           1       that correct?

09:08:47   13
           1           A.     Yes.

09:08:52   14          Q.     Turning back to what has been marked as

09:08:54   15      exhibit 1, does this document refresh your recollection

09:09:01   16      that W&K was formed in or about February of 2011?

09:09:08   17          A.     It doesn't.    I - I - honestly, I don't remember

09:09:12   18      it, seeing it, but that doesn't mean I didn't see it.

09:09:21   19      I - I - I thought that we - I guess it's - it's hard to

09:09:25   20      say for me.    I think we did some work together before

09:09:30   21      that date but they only, I guess, got - got together

09:09:39   22      with - to - to establish on that date.

09:09:45   23          Q.     Do you see in the second part of the email

09:09:49   24      down, from Dave Kleiman to Craig Wright and Lynn Wright,

09:09:55   25      it says:



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09:09:58    1               Last page of attached. Do you think I can
09:10:00                    list you as mgr or mgrm with a foreign
09:10:05    2               address, or do you think they would kick it
09:10:07                    back?
09:10:09    3               Dave.

09:10:09    4      Do you see that part?

09:10:10    5          A.      Yes.

09:10:15    6          Q.      Do you know if you were ever - or if you or

09:10:21    7      Craig were ever listed as a manager or managing member in

09:10:25    8      W&K Information Defense?

09:10:29    9          A.      I - no, I - I don't recall that.     Sorry, I -

09:10:37   10      I - I mean, I just don't have any memory of that.

09:11:03   11          Q.      I'm going to just have them show you what is in

09:11:06   12      tab 21.    I'm going to mark that as exhibit 2.

09:11:10   13                   (Exhibit 2 marked for identification)

09:11:28   14          THE DEPONENT:      Again, I read from the bottom up,

09:11:29   15      do I?

09:11:29   16      BY MS MARKOE:

09:11:29   17          Q.      Yes, you do.   And actually - yes, from the

09:11:32   18      bottom up.    Read from the bottom and then go to the

09:11:35   19      second page and then you can continue back to the first

09:11:37   20      page and read up.

           21          A.      Yes.

09:11:40   22          MR BRENNER:      Zaharah, I'm sorry, can you - sorry,

09:11:41   23      which Bates stamp is this?

09:11:44   24          MS MARKOE:      Yes, it's DEFAUS_00706832.

09:11:50   25          MR BRENNER:      Thank you.



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09:11:52    1            MS MARKOE:      Kyle, do you want to just forward

09:11:55    2      Andrew the email that I sent you with the documents?

            3      That might be easier.

09:12:00    4            MR BRENNER:     I just - no, I have it, I have

09:12:01    5      everything, I just didn't know which - because there was

09:12:01    6      three documents, I just didn't know which one you went

09:12:04    7      to.   I have it, though, thank you.

09:12:26    8            THE DEPONENT:     Question for the - just something

09:12:28    9      about the email, and you guys would probably be able to

09:12:30   10      tell me.   When he - when Dave states, "I have files [in]

09:12:35   11      3 fictitious business names", is that like shelf

09:12:39   12      companies?

           13      BY MS MARKOE:

09:12:43   14            Q.   I can't speak for Dave Kleiman.     If you have

09:12:47   15      any idea of what you think that means, I'm happy to ask

09:12:52   16      you that question, but you are the star witness here,

09:12:57   17      Lynn.

09:12:59   18            A.   Yeah.    Okay, I don't - I don't know what that

09:13:01   19      means, so.   Okay.

09:13:44   20            Q.   Okay.    Do you recognize this email?

09:13:51   21            A.   No, I don't.     I mean - no, I don't remember it.

09:13:54   22      I don't recall it.      But there's a lot of things back then

09:14:02   23      I don't recall.

09:14:05   24            Q.   Okay.    Fair enough.   You may not recall, but do

09:14:17   25      you dispute anything that's on the email itself?



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09:14:18    1          A.     Sorry, what was that?

09:14:19    2          Q.     Do you dispute anything that's on the email

09:14:21    3      itself?    I understand you don't specifically recall this

09:14:24    4      email, because, you know, it was nine years ago almost.

09:14:28    5          A.     Yeah, no, I - I --

09:14:30    6          MR ROCHE:      Objection.   Form.

09:14:31    7          THE DEPONENT:     No, I don't dispute anything that's

09:14:33    8      there.    As I said, I just don't recall it.

            9      BY MS MARKOE:

09:14:56   10          Q.     Do you recall that Dave would email you

09:15:00   11      sporadically about W&K, particularly during its formation

09:15:08   12      period?

09:15:09   13          A.     I - I have a very - I remember only a - one

09:15:15   14      particular email, and it had nothing to do with W&K.

09:15:20   15      Other ones that - that were sent I really don't remember;

09:15:28   16      at least these ones I don't.

09:15:32   17          Q.     Okay.   What was your role in W&K?   It was the

09:15:44   18      three of you, but what was your particular role within

09:15:47   19      it - within it?

09:15:48   20          MR ROCHE:      Objection.

09:16:03   21          MS MARKOE:     Kyle, what's wrong with that question?

09:16:04   22          MR ROCHE:      You - I mean, you're, I guess,

09:16:06   23      testifying for her; you're saying, "it was the three of

09:16:08   24      you", and I don't believe the witness testified to that.

           25      BY MS MARKOE:



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09:16:15    1          Q.   Lynn, what was your role in W&K?

09:16:17    2          A.   My role was as an - administration, really.

09:16:24    3      I did all the, I guess, research for - for tenders, for -

09:16:35    4      that we thought that the company could do.      And, in fact,

09:16:40    5      it was through one of the tenders that - that we worked -

09:16:49    6      that we included Dave in, because it was a - it was

09:16:53    7      tenders that were put out by Homeland Security.      And for

09:16:59    8      obvious reasons, they - they wanted to have it - an

09:17:05    9      American company with, you know, represented in the -

09:17:10   10      from the States, obviously.      So we - that's when - to the

09:17:14   11      best of my knowledge, that's when we included Dave in,

09:17:19   12      and they - in the proceedings.      Because it would look

09:17:25   13      better for any tender to come from the US, from a vet,

09:17:31   14      and from a disabled vet as a result of his service.       So -

09:17:38   15      and he - that's what - when he sort of came on board.

09:17:45   16          Q.   When you say "tender", what do you mean by the

09:17:48   17      term "tender"?     What does that term mean?

09:17:52   18          A.   There was an information - I - I went on the

09:17:54   19      Homeland Security site and they had asked for - well,

09:18:01   20      I call them a tender when they ask for work to be done

09:18:04   21      and you have to submit the - the outline of the work and

09:18:11   22      how you can accomplish it and that sort of thing.

09:18:21   23          Q.   What was the purpose - just - let me just make

09:18:27   24      sure I understand what you've said.

09:18:28   25          A.   Yes.



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09:18:28    1          Q.   Is it fair to say that the purpose of W&K, when

09:18:35    2      it was formed, was to prepare tenders, as you call them,

09:18:43    3      for the Department of Homeland Security?

09:18:47    4          MR ROCHE:      Objection.   Form.

09:18:56    5          THE DEPONENT:     Have we lost you guys?

09:18:58    6      BY MS MARKOE:

09:19:01    7          Q.   Did you hear me?

09:19:02    8          A.   No, you went quiet and then the - both pictures

09:19:05    9      froze for a second.

09:19:06   10          Q.   Okay.     I will reframe my question.   I just want

09:19:12   11      to make sure I understand what you just testified about.

09:19:21   12      Is it fair to say that, to the best of your knowledge,

09:19:28   13      W
                   W&K was formed to present or respond to tenders by the

09:19:37   14      Department of Homeland Security?

09:19:39   15          MR ROCHE:      Objection.   Form.     Leading

           16      BY MS MARKOE:

09:19:48   17          Q.   Did I break up again?

09:19:51   18          A.   Yes, you did.     We got - I heard the objection

09:19:53   19      but then I don't know if you said anything

09:19:55   20          Q.   I just said, "Is that correct"?

09:20:01   21
           2           A.   Yes, that's - to the best of my knowledge, that
                                                                          t

09:20:04   22
           2       was - that was the reason for W&K, it was to be able to

09:20:07   23
           2       apply for or respond to requests for tenders in the US,

09:20:14   24
           2       and it was for information security purposes.

09:20:19   25
           2           Q.   What do you mean by "information security



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                          Leading (if prior objection is sustained)


09:20:21    1      purposes"?

09:20:22    2             A.   Well, like - like we - what we did over here

09:20:27    3      was 24/7 monitoring for secure - to secure companies'

09:20:38    4      Internet - Internet presence, I guess, if you will,

09:20:41    5                                g stuff, that sort of thing.
                   because - like anti-hacking                         g

09:20:46    6             Q.   So what was your understanding of Dave's role

09:20:49    7      in W&K, or what did you know Dave's role to be?       Can I

09:20:54    8      just - let me strike that.      Let me reframe the question.

09:20:56    9      Based on your personal knowledge, what was Dave's role in

09:20:59   1
           10      W&K?

09:21:01   11
           1              A.   Dave was - he was - he was there to submit the

09:21:08   12
           1       tenders.    He did, from time to time - Craig would throw -

09:21:15   13
           1       would sort of throw ideas off of - you know, between the

09:21:19   14
           1       two of them.    Dave was not an academic, and Craig would

09:21:27   1
           15      do all of the writing of the tenders and then I would

09:21:38   16
           1       edit them, or - or "proofread" them is a better word, and

09:21:42   17
           1       then we would send them off to Dave and he would then

09:21:47   18
           1       send them to the appropriate companies.     In this case,

09:21:51   19
           1       there was two tenders that went to Homeland Security.         So

09:21:55   20
           2       he would send them off - off - and provided, basically,

09:22:00   21
           2       an American presence in the - in the tender process.

09:22:10   22
           2              Q.   What was Craig's role in W&K?

09:22:12   23
           2              A.   He wrote - he responded to the tenders.    He

09:22:15   24
           2       wrote the - he wrote everything up.     He did all the -

09:22:24   25
           2       responding to the type of questions and the type of work



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09:22:27    1      that was needed, how it would be done, effectively how

09:22:34    2      much it would cost, that sort of thing.

09:22:40    3          Q.   During this time period when W&K was preparing

09:22:45    4      these tenders, through Craig preparing them and you

09:22:49    5      editing them and Dave submitting them, were you and Craig

09:22:54    6      submitting tenders in other places and through other

09:22:59    7      companies?

09:23:01    8          A.   No, not that I'm - I - not that I worked on,

09:23:04    9      no, and being the administration person, I think I would

09:23:14   10      have known that anything was done.    But the two big ones

09:23:17   11      were the two with Homeland Security, and that was all

09:23:22   12      that I'm aware of.

09:23:27   13          Q.   Are you aware whether or not the tenders were

09:23:30   14      accepted by the Department of Homeland Security?

09:23:33   15          A.   It took a long time.    We never heard back, and

09:23:38   16      we could - we tried and tried and tried to get in touch

09:23:41   17      with Dave, and he was not responding to phone messages

09:23:50   18      and - or to emails that I'm aware of, because at that

09:23:53   19      point he was very sick and he was in hospital.      But he

09:23:57   20
           2       didn't let anybody know.   So to be - we don't know if the

09:24:02   21
           2       tender was even submitted on his part.     But we never

09:24:07   22
           2       heard anything back from - from them.

09:24:17   23          Q.   So - pardon me.    Excuse me a moment.     Lynn,

09:24:26   24      I want to sort of shift gears for a quick second.       What

09:24:29   25      is your academic background and professional background?



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09:24:39    1             A.   My - I started out as a nurse.   I worked in a

09:24:43    2      hospital here in Australia after we were married.       Then

09:24:48    3      study - I - then Craig started the - the original company

09:24:52    4      and I went to work for the original company.      At the same

09:24:56    5      time I started doing an MBA in International Business and

09:25:00    6      Marketing.    Previous to our marriage, I had done a

09:25:03    7      Masters in Education, and - I didn't really want to

09:25:14    8      mention this, but I also studied law here, and I - I left

09:25:25    9      one course shy of graduating, because I just had no

09:25:30   1
           10      interest in it any more.

09:25:35   11             Q.   You mentioned an original company.   What

09:25:37   12      company are you referring to?

09:25:38   13             A.   DeMorgan Proprietary Limited.

09:26:05   14             Q.   You mentioned a few minutes ago that you never

09:26:11   15      heard back from Dave, or you had a very difficult time

09:26:14   16      getting in touch with him.      I will let the - your

09:26:16   17      testimony speak for itself, it is just me paraphrasing.

09:26:21   18      Did Dave ever talk to you about his health, you know,

09:26:24   19      given your background as a nurse?

09:26:26   20             A.   He emailed me once about a medical device,

09:26:35   21      I guess, that was in the process of being developed,

09:26:37   22      like, I think it was - the best way to describe it is an

09:26:39   23      exoskeleton, where they attach devices, because he was a

09:26:47   24      quadriplegic.    This would - they - they'd put devices on

09:26:51   25      him.    It's like a - I guess sort of like casting, except



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09:26:55    1      it's metal and they have joints and it would - it would

09:27:01    2      able - enable him to move around.    He just - he

09:27:04    3      basically - it surprised me, and I remember this well,

09:27:10    4      because I was quite - I hadn't heard about those, let's

09:27:16    5      put it that way, and so I did some research into it and

09:27:20    6      then sent an email back to him saying, "Look, you know,

09:27:23    7      let me - if it works, go for it", and I said - I asked

09:27:27    8      him - I think I asked him to let me know what happens,

09:27:30    9      and I just never heard back from him.

09:27:33   10          Q.    Did you ever come to learn why he was in the

09:27:36   11      hospital during this general time frame?

09:27:38   12          A.    Sorry, did I ever what?

09:27:39   13          Q.    Come to learn why he was in the hospital during

09:27:44   14      this general time frame?

09:27:45   15          A.    No.   I - well, I heard that he had infections,

09:27:50   16      but that doesn't surprise - that didn't surprise me,

09:27:52   17      because I knew that - that quadriplegics get pressure

09:27:59   18      sores.   The pressure sores get very infected and they

09:28:02   19      become quite septic.   So it wasn't something that

09:28:05   20      surprised me.

09:28:22   21          Q.    Do you have any understanding as to why

09:28:24   22      Dave Kleiman didn't share with you and Craig, in

09:28:27   23      real time, that he was in the hospital and unable to

09:28:33   24      respond to your emails and calls and attempts to reach

09:28:36   25      out to follow up on the tenders?



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09:28:40    1             A.    No, I - I don't know why.   I mean, you know,

09:28:43    2      I could suppose things, but that's - that's not what

09:28:46    3      should be done.      I - I don't know why he - he didn't

09:28:51    4      respond, other than he was - we had heard that he was

09:28:55    5      very ill.

09:28:59    6             Q.    All right.   How did you hear he was very ill,

09:29:10    7      if you recall?

09:29:11    8             A.    I don't recall.    I know - it was Craig that

09:29:14    9      told me, and it may be that - it may have been that he

09:29:19   10      got in touch with Craig.       I don't know.

09:29:31   11             Q.    Are you aware of any assets, IP, or anything of

09:29:35   12      value that W&K ever had?

09:29:38   13             A.    No.

09:29:45   14             Q.    Are you a shareholder in W&K?      Relevance

09:29:48   15             A.    Yes.

09:29:51   16             Q.    Do you know how you became a shareholder in
                                                                  Relevance
09:29:54   17      W&K?

09:29:56   18             A.    When I - when the - the company was originally

09:29:59   19      set up, I think it was just divided between the three of

09:30:04   20      us, I guess.

09:30:09   21             Q.    I'm going to have the folks at Piper hand you

09:30:16   22      what I call tab 17.       It is - for the benefit of the

09:30:22   23      plaintiffs' counsel, it is DEFAUS_01518187 and through

09:30:38   24      188.    I'm going to have this marked as exhibit 3, please

09:30:42   25                  (Exhibit 3 marked for identification)
                                                                       Relevance



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                                                        Relevance objection to
09:30:45    1          THE DEPONENT:     Yes, okay.     everything designated
                                                        through 28:6
            2      BY MS MARKOE:

09:30:48    3          Q.    On the first page, is that your signature on

09:30:51    4      that page?

09:30:52    5          A.    Yes, it is.

09:30:55    6          Q.    And I'd like to turn your attention to the

09:30:57    7      second page of the document.       Actually, go back to the

09:31:05    8      first page.     Who was Michael Shehadie?

09:31:08    9          A.    Michael Shehadie was our solicitor from - like,

09:31:17   10      we had retained him for quite a few years, and then

09:31:21   11      during the - our divorce, he represented - he - I thought

09:31:26   12      he was representing me, but I - I - I don't know, to be

09:31:31   13      honest.

09:31:44   14          Q.    And can you turn to the second page of the

09:31:47   15      document, which is actually page 1 of 2, it's just the

09:31:53   16      way the --

           17          A.    Yes.

09:31:54   18          Q.    -- document was Bates-stamped.      And what is

09:31:56   19      this document?

09:32:00   20          A.    This document is the settlement, our divorce

09:32:05   21      settlement.

09:32:11   22          Q.    And does this appear to be a true and accurate

09:32:14   23      representation of the division of assets that you and

09:32:17   24      Craig agreed to in or about June of 2011, as is noted at

09:32:23   25      the bottom of the document, the date?



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                                                      Relevance objection to
                                                      everything designated
                                                      through
                                                           g 28:6
09:32:26    1          A.     Yes.

09:32:38    2          Q.     And the document states at the top - actually,

09:32:41    3      can you read what the document states at the very top,

09:32:44    4      after "Appendix"?

            5          A.

09:32:46    6              The following documents the agreed property
09:32:49                   split for the Family law settlement between
09:32:51    7              Craig and Lynn Wright.

09:32:54    8          Q.     And under "Lynn Wright", the first, I guess,

09:33:01    9      row under "Lynn Wright" says, "Cloudcroft Party Limited";

09:33:07   1
           10      am I correct?

09:33:08   11
           1           A.     "Proprietary Limited", yes

09:33:11   12
           1           Q.     Proprietary Limited, okay.     What was Cloudcroft

09:33:18   13
           1       Proprietary Limited?

09:33:18   14
           1           A.     Cloudcroft was - was the company - it was

09:33:20   1
           15      "Cloudcroft Proprietary Limited trading as Information

09:33:26   16
           1       Security" - I can't recall what the whole name was back

09:33:29   17
           1       then, but it was - it had been sort of like - this is

09:33:33   18
           1       what I was asking you:    it was like a shelf company that

09:33:38   19
           1       we bought from the Australian Securities Commission and

09:33:45   20
           2       named it then "Cloudcroft", and then you could - here you

09:33:52   21
           2       can have a company that is "trading as" and a different

09:33:58   22
           2       name.    Do you understand?    Does that make sense to you?

09:34:03   23
           2           Q.     Yes.   What was the business of Cloudcroft

09:34:14   24
           2       Proprietary Limited?

09:34:16   25
           2           A.     It was information security.     We had - it was



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09:34:20    1      the same - it was the same as DeMorgan - DeMorgan

09:34:27    2      Information Defense Systems and Information - and then

09:34:31    3      Information Defense.    It was always the same.    We did

09:34:37    4      24/7 monitoring of - for security purposes for companies

09:34:42    5      like the Australian stock exchange, some credit unions,

09:34:50    6      that sort of thing.

09:35:03    7          Q.   Did Cloudcroft Proprietary Limited have to do -

09:35:09    8      have anything to do with bitcoin or blockchain?

09:35:14    9          A.   Not that I'm aware of, no.

09:35:26   1
           10          Q.   Under the terms of your family law settlement,

09:35:32   11
           1       what happened to Cloudcroft Proprietary Limited?

09:35:40   12
           1           A.   It went - it went back to Craig as - as -

09:35:47   13
           1       I signed it back over to Craig because of financial

09:35:52   14
           1       reasons that I was having.

09:36:03   1
           15          Q.   Before you signed it back to Craig --

09:36:05   16
           1           A.   Yes.

09:36:06   17
           1           Q.   -- under the terms of the family law

09:36:08   18
           1       settlement, was it your company?

09:36:12   19          MR BRENNER:      Objection.

09:36:19   20          THE DEPONENT:      Do I answer, or no?

09:36:21   21          MR BRENNER:      Yes.

           22      BY MS MARKOE:

09:36:23   23          Q.   You do answer; correct.

09:36:26   24          A.   Yes, okay.     Yes, it was - I was listed as the

09:36:29   25      managing director.



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09:36:35    1             Q.   And at a later date, due to certain personal

09:36:41    2      financial issues you were having, you signed it over to

09:36:44    3      Craig Wright; is that correct?

09:36:45    4             A.   That's correct, yes.

09:36:47    5             MR ROCHE:   Object.    Form.

09:36:50    6             THE DEPONENT:      Sorry, we didn't hear that, Kyle,

09:36:52    7      could you repeat, please?

09:36:56    8             MR ROCHE:   Yes.      Objection.   Form.

            9      BY MS MARKOE:

09:36:59   10             Q.   On the "Craig Wright" column, on the same row

09:37:01   11      involving Cloudcroft, do you see where it says, "All IP

09:37:06   12      to remain with Craig Wright".

09:37:09   13             A.   Yes.

09:37:13   14             Q.   Cloudcroft "to retain a right to use existing
09:37:15           IP"?
09:37:16   15             A.   Yes.

09:37:16   16             Q.   Do you know what IP that's referencing, or do

09:37:21   17      you recall what IP - strike that.         Do you recall what IP

09:37:23   18      that is referencing?

09:37:25   19             A.   I - I - yeah, it was - it was the IP that was

09:37:29   20      involved with development of security systems.           We were -

09:37:36   21      we - Craig was developing, and it's listed further down,

09:37:40   22      "Spyder".    It was a hardware/software device that could

09:37:45   23      be plugged into a client's network.         It was like a

09:37:47   24      firewall type thing, but his own - he developed it

09:37:52   25      himself.



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09:37:59    1          Q.    Did Dave Kleiman have anything to do with

09:38:02    2      Spyder?

09:38:04    3          A.    No, not to - not that I'm aware of, no.

09:38:08    4          Q.    Did Dave Kleiman have anything to do with

09:38:10    5      Cloudcroft Proprietary Limited?

09:38:13    6          A.    No.

09:38:14    7          Q.    Did Dave Kleiman have anything to do with

09:38:17    8      Information Defense Proprietary Limited?

09:38:19    9          A.    No.

09:38:21   10          Q.    Did Dave Kleiman have anything to do with

09:38:23   11      DeMorgan Proprietary Limited or DeMorgan Information

09:38:28   12      Defense Systems?

09:38:28   13          A.    No.

09:38:31   14          Q.    As far as you are - as far as you are aware,

09:38:36   15      did Dave Kleiman have anything to do with any company -

09:38:48   16      strike that.    As far as you are aware, did Dave Kleiman

09:38:55   17      have anything to do with any company other than W&K?

09:39:03   18          A.    Not that I'm - not that I'm aware of, no.

09:39:10   19          Q.    Sorry.   Under Cloudcroft Proprietary Limited,

09:39:14   20      in your column, it also says, "Use of Greyfog IP".       Do

09:39:21   21      you know what the Greyfog IP was?

09:39:24   22          A.    Greyfog was the company that we worked with who

09:39:27   23      was building the Spyder boxes.    They - they - you know,

09:39:33   24      it's - we're talking about geeks here.     They are all out

09:39:38   25      there - you know, he - he could put together the boxes,



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09:39:42    1      the hardware, and then between him and Craig, they would

09:39:49    2      download all the software and stuff, so that was

09:39:52    3      considered the IP from Greyfog as well.

09:39:58    4          Q.   Did Dave Kleiman have anything to do or any

09:40:01    5      interest in Greyfog?

09:40:03    6          A.   No.

09:40:16    7          Q.   In the "Intellectual Property" section, which

09:40:18    8      is I guess about - a few more rows down?

09:40:22    9          A.   Yes.

09:40:23   10          Q.   On the "Craig Wright" side, right below

09:40:26   11      "Spyder", it says "Blacknet"?

09:40:30   12          A.   Yes.

09:40:31   13          Q.   What was Blacknet, if you recall?

09:40:33   14          A.   I have no recollection of that at all.       I -

09:40:40   15      it's - I don't know.    I - I could assume things, but

09:40:43   16      that's - that's just silly.

09:40:46   17          Q.   Okay.     A few lines up, it says, "W&K

09:40:53   18      Information Defense, LLC"?

09:40:57   19          A.   Yes.

09:40:57   20          Q.   Do you see that?

09:40:58   21          A.   Yes.

09:40:59   22          Q.   And under the "Lynn Wright" section it says,

09:41:01   23      "50% of shares from Craig Wright"?

09:41:03   24          A.   Yes.

09:41:04   25          Q.   And then under the "Craig Wright" section it



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09:41:05    1      has a similar entry:

09:41:08    2               Existing shares to be split and divided -
09:41:11                    50% to go to Lynn Wright.
            3

09:41:15    4      Do you see that?

09:41:16    5          A.      Yes.

09:41:22    6          Q.      Do you recall if that's the way that you

09:41:25    7      received the - your shares in W&K?

09:41:31    8          A.      Yeah.   I - that - I - look, when I - to -

09:41:36    9      I don't recall ever getting any paper, anything on, you

09:41:42   10      know, paper, other than this, saying that I - you know,

09:41:45   11      that - I mean, I knew I had had some interest in it, but

09:41:48   12      this is the first time that I saw it written down.

09:42:17   13          *Q
                       *Q.    Gi
                              Given that
                                    th t you have
                                             h     h
                                                  shares i W&K,
                                                         in W&K h
                                                                have you

09:42:21   14      expressed any concern about those shares or anything that

09:42:29   15      you are owed by W&K before?
                                                        Leading, foundation,
                                                                           ,
09:42:36   16          MR ROCHE:       Objection, form. improper predicate,
                                                        relevance
           17      BY MS MARKOE:

09:42:38   18          Q.      You can answer.

09:42:38   19          A.      Oh, can I?    Okay.    Sorry, what was that - what

09:42:41   20      was the question again?

           21          MS MARKOE:      Court reporter, do you mind reading

           22      that question back?

           23                  (Question marked * read)

       0
09:43:00   24          THE DEPONENT:        I didn't have any concerns until now

       2
09:43:02   25      because I didn't think it was worth anything.



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            1      BY MS MARKOE:

09:43:11    2          Q.   Did Ira Kleiman or anyone from Dave's estate

09:43:14    3      ever contact you about your shares in W&K after Dave

09:43:20    4      died?

09:43:22    5          A.   No.

            6          Q.   Okay.

09:43:24    7          A.   Having said that, I did get some emails

09:43:31    8      from a - and then letters, physical snail mail, from -

09:43:39    9      two from Dave himself, which was rather upsetting for me

09:43:43   10      because he had been dead for quite a while, and another

09:43:47   11      one from a Gareth - I can't remember his last name - who

09:43:51   12      I later learned was also dead.    So it had nothing to do

09:43:58   13      with the shares but it had to do with - I don't know,

09:44:02   14      it's - it was - I don't know if it's mining of bitcoin or

09:44:06   15      what, but it meant nothing to me.

09:44:26   16          Q.   Has any lawyer, or someone purporting to be a

09:44:30   17      representative of Ira Kleiman, contacted you --

09:44:37   18          A.   No.

09:44:37   19          Q.   -- about - let me finish my question.

09:44:39   20          A.   Oh, sorry.

09:44:40   21          Q.   No, that's okay - contacted you about your

09:44:42   22      shares in W&K?

09:44:43   23          A.   Nobody, no.

09:44:58   24          Q.   Separate and apart from W&K, I'm going to ask

09:45:00   25      you some questions about your relationship with Dave and



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09:45:03    1      Craig's relationship with Dave.     Is that all right with

09:45:05    2      you?

09:45:05    3             A.   Yes, yes.

09:45:19    4             Q.   Did you ever meet Dave Kleiman in person?

09:45:21    5             A.   Yes.   I think we've met on two occasions.

09:45:29    6      Definitely one time Craig and I were at a conference in

09:45:32    7      Orlando and we met him, and then I believe he came out to

09:45:38    8      Las Vegas for what's - for a SANS conference, which is a

09:45:43    9      big outfit in the States, a big company - well, it's

09:45:48   1
           10      worldwide - on information security and stuff like that.

09:45:56   11             Q.   And in addition to meeting him in person on

09:46:03   12      some - one - at least one, perhaps two occasions --

09:46:05   13             A.   Yes.

09:46:06   14             Q.   -- did you correspond with him or talk on the

09:46:11   15      phone with him periodically?

09:46:13   16             A.   If he called - if he called Craig or if Craig

09:46:17   17      called him and it wasn't at an insane hour, I - I would

09:46:22   18      just, you know, say, "Hi" and that sort of thing, but not

09:46:26   19      for any big, heavy, long conversations or anything.

09:46:35   20             Q.   How frequently - do you know when Craig and

09:46:41   21      Dave first met?

09:46:44   22             A.   No, I don't.   I - I think they met in a - in a

09:46:50   23      security chat room type thing, where all the security

09:46:55   24      geeks go.

09:47:04   25             Q.   Did Dave ever speak to you about his family?

                                  Relevance, unduly prejudicial

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                            Entire page: Relevance, unduly prejudicial


09:47:10    1          A.    Yes.    When we were in Orlando.   He - he didn't

09:47:19    2      like to speak about his family.    I, you know, just as a -

09:47:22    3      as a kind of - I guess the type of person I am is I may

09:47:26    4      be a sticky beak, but I always ask people, you know, when

09:47:29    5      you're trying to get to know them more, I ask them about

09:47:32    6      their family and stuff, and he didn't like to speak about

09:47:35    7      his family.     He - so I didn't push it.

09:47:41    8          Q.    What did he tell you about his family?

09:47:43    9          A.    That he didn't get along with them.      He didn't

09:47:49   10      hold - I guess it's - no, that would be me assuming.       He

09:47:53   11      told me that he didn't get along with them.

09:47:58   12          Q.    Did he mention anything specifically about his

09:48:01   13      brother, Ira Kleiman?

09:48:06   14          A.    That he didn't care for him, but, again,

09:48:14   15      I didn't push too hard because I felt him getting upset.

09:48:22   16          Q.    Did he say anything about why he didn't like

09:48:26   17      his brother, Ira Kleiman?

09:48:29   18          A.    No.

09:48:32   19          Q.    Did you get the impression that Dave Kleiman

09:48:37   20      had a close relationship with Ira Kleiman or a distant

09:48:41   21      relationship with Ira Kleiman?

09:48:42   22          A.    I got the impression that there was no

09:48:45   23      relationship between them.

09:48:55   24          Q.    And that conversation, that happened during

09:48:57   25      your in-person meeting with him in Orlando in about 2009;



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                               Relevance, unduly prejudicial

09:49:03    1      is that correct?

09:49:03    2          A.      Yes.

09:49:11    3          Q.      Based on your understanding of Dave's

09:49:13    4      relationship with Ira Kleiman, would you be surprised if

09:49:15    5      he left Ira Kleiman substantial assets with he died?

09:49:20    6          MR ROCHE:       Objection, form.

09:49:23    7          THE DEPONENT:       Can I answer?

            8      BY MS MARKOE:

09:49:24    9          Q.      Yes.    Whenever anyone says, "Objection.   Form",

09:49:28   10      you can answer.

09:49:29   11          A.      Okay.

09:49:30   12          Q.      The only time you should not answer a question

09:49:33   13      is when it would reveal communications between you and an

09:49:40   14      attorney or spousal communications while you were

09:49:43   15      married.

09:49:43   16          A.      Oh, okay.   So, yes - yeah, I was - I would have

09:49:51   17      been very surprised if he had left anything to - to his

09:49:55   18      brother.

09:50:07   19          MS MARKOE:       Can we take a five-minute break?

09:50:13   20          THE VIDEOGRAPHER:       Sure.   Going off the record at

09:50:14   21      9.49am.     Tape stopped.

           22      (9.49am)

           23                (A short break)

           24      (10.04am)

10:04:41   25          THE VIDEOGRAPHER:       Going back on the record at



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10:04:43    1      10.04am.   Proceed.

            2      BY MS MARKOE:

10:04:50    3          Q.     You mentioned when we were - when I asked you

10:04:54    4      some questions earlier about you would participate - and

10:04:59    5      again I'm just paraphrasing your testimony, just to get

10:05:02    6      you back to where you were --

10:05:04    7          A.     Okay.

10:05:09    8          Q.     -- that, you know, you'd sometimes say "Hi" to

10:05:12    9      Dave when he and Craig were speaking, when Craig called

10:05:17   10      Dave or Dave called Craig, if it wasn't an insane hour of

10:05:20   11      the day or evening.    What did you mean by that?

10:05:26   12          A.     What, just to say "Hi" or the time-wise?

10:05:29   13          Q.     The time-wise, thank you.

10:05:31   14          A.     Well, time-wise, if - generally, if we - Craig

10:05:38   15      wouldn't call Dave during our day because it would be his

10:05:43   16      night, okay?    So they would usually speak - I think when

10:05:49   17      they did speak it would be in the middle of our night so

10:05:53   18      that it was an easier time frame for David.

10:05:58   19          Q.     Did Craig typically stay up very, very late at

10:06:02   20      night?

10:06:03   21          A.     Yes, yes.   He - he would - I think at the time,

10:06:09   22      he probably slept about four hours at the most every

10:06:12   23      night.   He'd just always - he - you know, he'd wake up in

10:06:18   24      the middle of the night with an idea and rather than, you

10:06:20   25      know, just write it down on a piece of paper, he had to -



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10:06:23    1      he didn't believe in paper, or writing, for that matter,

10:06:26    2      he had to put it down on, you know - put ideas down on -

10:06:31    3      on his computer.

10:06:38    4          Q.     Speaking of computers, did Craig have a lot of

10:06:42    5      computers?

10:06:43    6          A.     Yes, he did.   Well, we had to have servers in

10:06:51    7      here and at the farm that we had, because of the 24/7

10:06:57    8      monitoring of our clients.      He had to be available, if

10:07:02    9      something happened with one of the clients, that he could

10:07:06   10      do remote work from.

10:07:10   11          Q.     Do you recall approximately how many servers

10:07:13   12      you had at the farm?

10:07:16   13          A.     There was - what constitutes a server?     You

10:07:22   14      know, we had - we had a fair number of what I guess

10:07:25   15      I would call "desktops", but he used them as - as - he

10:07:30   16      would interconnect them all and use them as a - as

10:07:38   17      servers.   So at the farm, I'm just trying to - we'd keep

10:07:42   18      mine separate, because it wasn't hooked up to his

10:07:44   19      network, but he probably had about four or five, and then

10:07:49   20      he had his laptop.

10:07:56   21          Q.     What was Dave and Craig's relationship like?

10:08:02   22          A.     Craig had a great deal of respect for Dave.       He

10:08:06   23      respected his knowledge, his ability to intuitively solve

10:08:16   24      security issues, and just - they were good friends.

10:08:26   25          Q.     You said that Craig respected Dave's knowledge.



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10:08:29    1      Do you know what of Dave's knowledge he respected?

10:08:34    2          A.   The ability - well, the information security

10:08:38    3      side of things.    You know, firewalling, anti-hacking,

10:08:45    4      anything like that.    They'd talk - like, I mean, they

10:08:48    5      could talk for hours about that sort of thing, I think.

10:08:57    6          Q.   Did you ever hear them talk about bitcoin?

10:09:03    7          A.   No.

10:09:09    8          Q.   Do you have any personal knowledge of Craig

10:09:12    9      referring to Dave as his business partner?

10:09:14   10          A.   No.

10:09:15   11          Q.   Do you have any personal knowledge of Dave

10:09:17   12      referring to Craig as his business partner?

10:09:20   13          A.   No.

10:09:23   14          Q.   You mentioned that you were involved in a bunch

10:09:25   15      of Craig's businesses.      In fact, you sort of left your

10:09:29   16      nursing in order to get involved in his businesses; is

10:09:32   17      that right?

10:09:32   18          A.   Yes.

10:09:35   19          Q.   Do you have personal knowledge of how Craig

10:09:38   20      entered into business relationships?

10:09:43   21          MR ROCHE:      Objection.     Form.

10:09:45   22          THE DEPONENT:     No.    Can you clarify that, though?

10:09:49   23      I don't quite know what you mean.

           24      BY MS MARKOE:

10:09:52   25          Q.   Yes.     So what I mean by that is did he enter



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10:09:55    1      into business relationships formally, with contracts and

10:09:59    2      corporate structures, or did he do things more

10:10:04    3      informally, with handshake deals?

10:10:08    4          MR ROCHE:      Objection, form.

10:10:10    5          THE DEPONENT:      He - no, he was - I - he was

10:10:13    6      informal.     Like, he - there was never anything put in

10:10:17    7      writing except between him and myself when - like I would

10:10:23    8      be marked down as a director of the companies - until our

10:10:29    9      divorce, obviously.    But otherwise, the only time that

10:10:36   10      anything was put in writing was when we were hiring

10:10:40   11      people.    So - and then they weren't clients or anything,

10:10:45   12      they were employees.

10:10:59   13          Q.      In any of your communications with Dave, did

10:11:02   14      Dave ever mention bitcoin?

10:11:06   15          A.      No.

10:11:17   16          Q.      Do you recall a time where Craig was shot?

10:11:23   17          A.      Yes.

10:11:27   18          Q.      Do you know - do you remember approximately

10:11:29   19      when that was?

10:11:33   20          A.      I'm just trying to think.   I think it was - it

10:11:41   21      might have been 2010, because I think we were still -

10:11:49   22      I think we were still in the house in - living together

10:11:52   23      here.     Because I remember getting the phone call and then

10:12:00   24      when he got back, so - but we - that was coming close to

10:12:03   25      the time we were separating.



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10:12:08    1          Q.   Do you know where he got shot?      And by "where",

10:12:15    2      I don't mean where on his body, I mean where in the world

10:12:19    3      was he when he got shot?

10:12:21    4          A.   South America, I believe.     Either South or

10:12:26    5      Central America.    I can't - I can't --

10:12:29    6          Q.   Do you know what he was doing in South or

10:12:31    7      Central America when he got shot?

10:12:33    8          A.   No, not really.     I mean, he - he went to do

10:12:35    9      some work but I - I don't know what it was as, again, we

10:12:40   10      were - we were pretty much having trouble communicating

10:12:46   11      about anything, then.

10:13:00   12          Q.   Give me one second, please.

10:13:02   13          A.   Yep.

10:13:59   14          Q.   Lynn, I think I'm going to have just one or two

10:14:02   15      more questions for you.

10:14:03   16          A.   Yes, okay.

10:14:04   17          Q.   To the best of your knowledge and recollection,

10:14:06   18      aside from W&K, which is a more formal arrangement, did

10:14:13   19      Craig and Dave have any informal business relationship

10:14:18   20      regarding anything?

10:14:19   21          MR ROCHE:      Objection, form.

10:14:24   22          THE DEPONENT:     No, I don't believe - I mean, they

10:14:26   23      would bounce ideas off of each other over the phone and

10:14:29   24      stuff, but as for any arrangements, no.

           25      BY MS MARKOE:



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10:14:43    1          Q.   Do you know what they bounced ideas about off

10:14:44    2      of each other?

10:14:46    3          A.   Usual - well, I assumed it was about

10:14:47    4      information security.    That's - you know, that's - he -

10:14:49    5      Craig liked to write articles, and I think he would

10:14:52    6      include Dave's input and stuff in the articles on

10:14:58    7      information security.

10:15:06    8          Q.   Do you know if they had any informal

10:15:08    9      arrangement regarding bitcoin?

10:15:10   10          A.   No, I don't.

10:15:11   11          Q.   Do you know if they had any kind of informal

10:15:13   12      arrangement regarding intellectual property?

10:15:15   13          A.   No, I don't know.

10:15:32   14          Q.   During your relationship with Craig, did you

10:15:35   15      ever hear either him or Dave talking about any informal

10:15:40   16      relationship they had whatsoever regarding any

10:15:43   17      intellectual property, bitcoin or other project?

10:15:47   18          A.   No.

10:16:06   19          Q.   All right, Lynn, thank you very much.

10:16:08   20      I actually have no further questions right now.

10:16:11   21      Depending on Mr Roche's questions, I may have a couple of

10:16:13   22      follow-ups thereafter, but thank you very much for your

10:16:16   23      time.

10:16:17   24          A.   You're welcome.

10:16:22   25          MR ROCHE:      Can we just take a quick five-minute



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10:16:23    1      break and then we'll come back?

10:16:25    2          THE VIDEOGRAPHER:      Yes.

10:16:25    3          MR ROCHE:      It's quarter past the hour.    Let's come

10:16:28    4      back at 20 past the hour?

10:16:30    5          THE VIDEOGRAPHER:      Okay.   This is the videographer.

10:16:31    6      I will change tapes.    Going off the record at 10.16.        End

10:16:36    7      of tape 1.

            8      (10.16am)

            9               (A short break)

           10      (10.21am)

10:21:41   11          THE VIDEOGRAPHER:      Going back on the record at

10:21:43   12      10.21am.     Commencement of tape 2.   Proceed.

           13      EXAMINATION BY MR ROCHE:

10:21:48   14          Q.      Good morning, Ms Wright.   My name is

10:21:53   15      Kyle Roche.    I represent the plaintiffs in this matter.

10:21:55   16      And just as a housekeeping, so that we have the record

10:21:58   17      clear, Vel Freedman is either on the line now - I know

10:22:04   18      he's in a spot where his connection is a little spotty,

10:22:08   19      so he will be in and out of the call.

10:22:19   20                  Ms Wright I've got a few questions to ask you

10:22:22   21      about your testimony today and a few other topics.       To

10:22:24   22      start, you testified earlier that you had approximately

10:22:28   23      three or four communications with Rivero Mestre; is that

10:22:35   24      correct?

10:22:35   25          A.      Yes.



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10:22:36    1          Q.      When was the first of those communications?

10:22:40    2          A.      When I received the - one of the - the -

10:22:47    3      I guess the first or second email or - from Dave and this

10:22:56    4      Gareth fellow, I - I didn't know what to do with it, so

10:23:00    5      I got in touch with Craig and he said to give it to - to

10:23:12    6      his solicitors.     Actually, I think I was - before then,

10:23:18    7      I was in - they were in touch with me, I think, because

10:23:22    8      they, for some - oh, they needed some information or

10:23:25    9      something, and I - and they sent me an email asking for

10:23:33   10      the information, and I said, "No", I would not give them

10:23:36   11      the information until I had permission from Craig,

10:23:39   12      because I'm just not going to speak to somebody I don't

10:23:42   13      know.    And so Craig then gave me permission to speak to

10:23:48   14      them, and I think it was Andres, Andreas, that called the

10:23:58   15      first time, or it might have been Amanda.     I can't

10:24:01   16      recall.

10:24:02   17          Q.      Okay.   And you say you needed permission from

10:24:04   18      Craig.     Why did you need permission from Craig?

10:24:06   19          A.      Because I'm not going to give information on

10:24:08   20      him or I'm not going to respond to questions about him

10:24:13   21      for all - because I was being harassed by - by

10:24:18   22      journalists and everything every time something came up

10:24:21   23      about - on the technical websites and stuff about

10:24:31   24      bitcoin.    People were calling saying, "I'm so-and-so.

10:24:34   25      Can you tell me this?" or, "Can you tell me that?", and



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10:24:37    1      I wasn't going to do it.

10:24:38    2             Q.   When was the last time a reporter reached out

10:24:41    3      to you regarding Craig Wright?

10:24:45    4             MS MARKOE:      Objection.    Relevance.

            5      BY MR ROCHE:

10:24:50    6             Q.   You can answer.

10:24:51    7             A.   Okay.   Probably about five months ago now.

10:24:57    8             Q.   Okay.   And who - what reporter was that?

10:25:01    9             A.   It was a --

10:25:02   10             MS MARKOE:      Objection.    Relevance.   You can answer.

10:25:04   11             THE DEPONENT:     Okay.     It was the fellow that was -

10:25:07   12      I can't recall his name offhand.          He's - he's writing a

10:25:11   13      book about it.

           14      BY MR ROCHE:

10:25:14   15             Q.   Okay.   And did you provide any information to

10:25:16   16      him?

10:25:18   17             A.   I --

10:25:19   18             MS MARKOE:      Objection again.    Relevance.

           19      BY MR ROCHE:

10:25:25   20             Q.   Ms Wright, did you hear?

10:25:30   21             A.   I - yep, no, I - I heard.       Sorry, my mouth was

10:25:32   22      just dry.    Yes, I did.     After - after permission from

10:25:35   23      Craig, basically, you know, saying that, yeah, it's okay.

10:25:40   24             Q.   What information did you provide to the

10:25:41   25      reporter?



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10:25:42    1          A.   Oh, he just asked questions about - about his -

10:25:47    2      sorry, the coffee machine is just going off in the

10:25:49    3      background.

10:25:52    4          Q.   That's okay.

10:25:52    5          A.   He just - it was - it was more about his life

10:25:55    6      and stuff, you know, that - that he wanted the

10:25:58    7      information.

10:26:00    8          Q.   Did he ask you - and are you aware that Craig

10:26:04    9      is a defendant in this litigation?

10:26:07   10          A.   Yes, I'm aware of that.

10:26:09   11          Q.   When did you first become aware of this

10:26:11   12      litigation?

10:26:15   13          A.   God, I don't know.     I have a sister-in-law up

10:26:19   14      in Ottawa that every time she sees anything about - about

10:26:22   15      bitcoin or anything, she sends me the information, and

10:26:25   16      I don't read half of it, I just delete it, so - but it's

10:26:30   17      been - it's probably been about six months, I guess, that

10:26:35   18      I've known about it.

10:26:39   19          Q.   Okay.     And you earlier, when you received those

10:26:42   20      emails from Gareth - and is that Gareth Williams?       Is

10:26:47   21      that the individual?

10:26:49   22          A.   Could be.     I think - I - it might be.    This

10:26:52   23      individual is dead now, I think.

10:26:55   24          Q.   Okay.     How do you know he's dead?

10:26:58   25          A.   Craig told me.



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10:27:00    1          Q.   Okay.     Do you have written communications with

10:27:03    2      Craig regarding these emails?

10:27:07    3          A.   No.

10:27:10    4          Q.   How did you communicate with Craig?

10:27:12    5          A.   By phone.

10:27:14    6          Q.   Okay.     When would - how often do you speak with

10:27:16    7      Craig by phone?

10:27:18    8          A.   Very, very infrequently.

10:27:21    9          Q.   When was the last time you spoke with Craig by

10:27:25   10      phone?

10:27:27   11          A.   Just try - oh, probably about last month some

10:27:30   12      time.

10:27:32   13          Q.   And what did you talk about last month?

10:27:35   14          A.   His --

10:27:36   15          MS MARKOE:      Objection.

10:27:37   16          THE DEPONENT:     Can I answer?

10:27:41   17          MR ROCHE:      Yes.

10:27:42   18          MS MARKOE:      Yes.   Unless you are instructed not to

10:27:43   19      answer, you should answer.

10:27:45   20          THE DEPONENT:     Okay.      I - his mum was in the

10:27:47   21      hospital and had been in the hospital for a while, and

10:27:51   22      I - we discussed how she was.

           23      BY MR ROCHE:

10:27:55   24          Q.   Okay.     Did you talk about this litigation when

10:27:57   25      you were on that phone call with Craig?



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10:28:00    1          A.      He mentioned it, but he did not go into detail

10:28:06    2      about it.

10:28:08    3          Q.      What did he mention about the litigation?

10:28:10    4          MS MARKOE:      Objection.

10:28:12    5          THE DEPONENT:      He mentioned that he - it was

10:28:14    6      ongoing.

            7      BY MR ROCHE:

10:28:16    8          Q.      Okay.   Anything else besides that, the fact

10:28:20    9      that it was still going?

10:28:21   10          A.      No.

10:28:22   11          MS MARKOE:      Objection.

10:28:23   12      BY MR ROCHE:

10:28:24   13          Q.      Okay.   So he just told you, "I'm still involved

10:28:26   14      in a lawsuit", and that was that?

10:28:30   15          A.      Yes.

10:28:31   16          MS MARKOE:      Objection.   Asked and answered.

10:28:33   17      BY MR ROCHE:

10:28:34   18          Q.      Okay.   I'd like to go back to the first time

10:28:35   19      you spoke with Rivero Mestre.     What was the - what was

10:28:38   20      that discussion about?

10:28:41   21          MS MARKOE:      Objection.   Asked and answered.   You

10:28:43   22      can answer.

10:28:43   23          THE DEPONENT:      I don't recall.   I mean, honestly,

10:28:49   24      I don't recall what it was about.     I think it was - well,

10:28:53   25      it's - no point in saying "I think", but I - I - I don't



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10:29:00    1      recall what it was about.

            2      BY MR ROCHE:

10:29:02    3          Q.   Okay.     Do you recall what any of your

10:29:05    4      conversations with Rivero Mestre were about?

10:29:11    5          A.   I - when we were - Amanda - I spoke to Amanda

10:29:15    6      when we were setting up this, this teleconference, and

10:29:20    7      why I couldn't travel to the States or to the UK, and

10:29:27    8      basically deciding on when it would be a good time.

10:29:32    9          Q.   Okay.     And when was that conversation?

10:29:36   10          A.   Last week some time.

10:29:39   11          Q.   Last week?     Do you recall what day?

10:29:43   12          A.   No, I don't.

10:29:45   13          Q.   Okay.     And when you say "last week", do you

10:29:48   14      mean - so it's Sunday our time.     I know it's Monday your

10:29:52   15      time?

10:29:53   16          A.   Okay, yeah.     All right, well it probably would

10:29:55   17      have been - actually, it probably would have been before

10:30:06   18      New Year's, then, because - I'm just trying to think when

10:30:10   19      it would have been.    May have been before New Year's.

10:30:12   20          Q.   Okay.     And why was - why did you decide this

10:30:15   21      time was a good time to have this deposition?

10:30:20   22          MS MARKOE:      Objection.   Relevance.

10:30:23   23          THE DEPONENT:     Because I have some health issues

10:30:26   24      that are interfering.

           25      BY MR ROCHE:



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10:30:34    1            Q.     I'm sorry, I didn't get the answer.      You broke

10:30:36    2      up?

10:30:37    3            A.     Sorry, I have - I have health issues that are

10:30:38    4      being investigated.

10:30:43    5            Q.     Okay.    And do you have any emails with

10:30:46    6      Rivero Mestre?

10:30:51    7            A.     Just the - I - I think it was just the one that

10:30:53    8      they sent me with the - the date for the - for the

10:31:01    9      deposition.        I don't recall any others.

10:31:05   10            Q.     Okay.

10:31:09   11            A.     I --

10:31:10   12            Q.     And I should --

10:31:11   13            A.     Sorry, there --

10:31:12   14            Q.     You go ahead.

10:31:13   15            A.     There may have - there may have been one from

10:31:15   16      Andres, the initial one, wanting some - requesting

10:31:21   17      information, from him - for, you know.          That would be the

10:31:25   18      first time I got - I was approached by them.

10:31:30   19            Q.     And what information was requested?

10:31:33   20            A.     Just - I - they - he just wanted some

10:31:39   21      information about Craig and I guess about the - the

10:31:41   22      business, like the Information Defense and stuff like

10:31:46   23      that.      But, again, my memory - I can't recall.

10:31:49   24            Q.     Okay.    Did you provide them any documents?

10:31:51   25            A.     No.    The only things I - I sent on to them were



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10:31:55    1      the - were copies of those emails that I got with the -

10:32:00    2      and I scanned the hard copies.

10:32:04    3          Q.   Okay.     And in any of your conversations with

10:32:07    4      Rivero Mestre did you discuss any documents?

10:32:12    5          A.   No.     I think they asked me about the - they

10:32:15    6      asked if - about the - our divorce settlement.

10:32:20    7          Q.   And what did they ask you about your divorce

10:32:21    8      settlement?

10:32:22    9          A.   Just that - asked me about it and if I - if

10:32:25   10      I had a copy of it.

10:32:27   11          Q.   Did they ask you about W&K Info Defense?

10:32:32   12          A.   They mentioned W&K but they weren't asking me

10:32:37   13      definitive questions about it.

10:32:38   14          Q.   What did they mention about W&K?

10:32:42   15          A.   It was involved in the - that it was involved

10:32:45   16      with the lawsuit.

10:32:48   17          Q.   And did they discuss W&K - did they discuss the

10:32:51   18      membership of W&K with you?

10:32:54   19          A.   They asked if I was part of W&K.

10:32:58   20          Q.   Okay.     And what did you tell them?

10:33:01   21          A.   I told them, "Yes".

10:33:04   22          Q.   And how - what did you tell them about your

10:33:06   23      involvement in W&K?

10:33:07   24          A.   I told them that I was administrative - the -

10:33:11   25      an administrator.



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10:33:13    1          Q.   Okay.     And did you - and was that the - your

10:33:16    2      only relationship with W&K was that you were an

10:33:19    3      administrator?

10:33:20    4          A.   Yeah.     Well --

10:33:22    5          MS MARKOE:      Objection.

10:33:26    6          THE DEPONENT:      -- plus - plus the work I did.

            7      BY MR ROCHE:

10:33:28    8          Q.   Plus the work you did.       Okay.    And you said you

10:33:30    9      had had about approximately three to four conversations

10:33:33   10      with Rivero Mestre?

10:33:34   11          A.   If that, yeah.      At the outside it probably

10:33:38   12      would have been four.

10:33:47   13          Q.   Have you ever been deposed before?

10:33:49   14          A.   No.

10:33:51   15          Q.   Have you ever been involved in a litigation?

10:33:57   16          MS MARKOE:      Objection.

10:33:59   17          THE DEPONENT:     No, not for anything like this.

10:34:02   18      From a - from a - an old company that we had.

           19      BY MR ROCHE:

10:34:08   20          Q.   And was that a company that you and Craig had?

10:34:10   21          A.   Yes.

10:34:11   22          Q.   What company was that?

10:34:13   23          A.   DeMorgan Information Security Systems.

10:34:17   24          Q.   And what was that litigation about?

10:34:20   25          MS MARKOE:      Objection.    Relevance.   You can answer.



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10:34:23    1          THE DEPONENT:       Okay.     The company - we had brought

10:34:26    2      in a - an investor who then did some what Craig

10:34:37    3      considered, I guess, illegal, where he was giving out

10:34:40    4      information and stuff about - so - about it, so we

10:34:43    5      resigned as directors.      We resigned from the company to -

10:34:51    6      working for the company, but we never gave up our

10:34:54    7      shareholding in the company, and they kept us from

10:35:01    8      working in the industry and then, basically, they were -

10:35:09    9      they were suing - the guy that took over sold the

10:35:15   10      business of that company to another company, and it's -

10:35:23   11      so that was the litigation that was - that was involved

10:35:26   12      for that.

           13      BY MR ROCHE:

10:35:28   14          Q.      Okay.   And do you know if you were plaintiffs

10:35:30   15      or defendants in that litigation?

10:35:33   16          MS MARKOE:        Objection.    Relevance.

10:35:35   17          THE DEPONENT:       We were defendants.

           18      BY MR ROCHE:

10:35:40   19          Q.      Okay.   And how was that litigation resolved?

10:35:44   20          A.      That --

10:35:46   21          MS MARKOE:        Again, objection.   You can answer.

10:35:50   22          THE DEPONENT:       Okay.     The - he had brought suit

10:35:53   23      against both Craig and myself as separate entities.           The

10:35:58   24      case against me was dropped by the court and the case

10:36:02   25      against Craig, he was - he was - he had to - I guess he



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10:36:10    1      had to - he lost the case, I guess, and he had to do -

10:36:17    2      make some payment - legal payments and stuff for the

10:36:21    3      other guys.

            4      BY MR ROCHE:

10:36:23    5          Q.      Do you know how much those legal payments were?

10:36:26    6          MS MARKOE:      Objection.     Relevance.

10:36:29    7          THE DEPONENT:      Offhand, no, I can't recall.

            8      BY MR ROCHE:

10:36:31    9          Q.      Okay.   Do you know if Craig was held in

10:36:33   10      contempt as part of that litigation?

           11          A.      I think he was.

10:36:38   12          MS MARKOE:      Objection.     Relevance.

10:36:42   13          THE DEPONENT:      Yes, he was.

           14      BY MR ROCHE:

10:36:44   15          Q.      And what was the result of that?

10:36:47   16          MS MARKOE:      Objection.     Relevance and confusing.

           17      BY MR ROCHE:

10:36:50   18          Q.      You can answer.

10:36:51   19          A.      He had to - he had to do community work.

10:36:54   20          Q.      Why was Craig held in contempt?

10:36:57   21          MS MARKOE:      Objection.

10:36:58   22          THE DEPONENT:      I don't know, to be honest.      I -

10:37:04   23      it - I - honestly, I can't tell - I don't know - I didn't

10:37:09   24      understand why it was - he would have been held in

10:37:11   25      contempt.



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            1      BY MR ROCHE:

10:37:12    2          Q.   Okay.     And what was the general time frame that

10:37:15    3      all this happened with DeMorgan and the litigation?

10:37:26    4          A.   Oh, God, it's probably about 2010, but it

10:37:32    5      started before then, because - yeah.     I think it resolved

10:37:39    6      around 2010.

10:37:43    7          Q.   Okay.     And just as the - Rivero Mestre was -

10:37:49    8      showed you documents, I'm also going to introduce some

10:37:52    9      documents.

10:37:52   10          A.   Yes.

10:37:53   11          Q.   I've got my colleague, Sati, there and she's

10:37:55   12      going to - I'm going to refer to particular documents and

10:37:58   13      she's going to hand them to you.

10:38:00   14          MR ROCHE:      Sati, can you hand Ms Wright tab 00.

10:38:04   15          MS MARKOE:     Kyle, we haven't - we actually, about

10:38:10   16      five minutes ago, received your email with the documents.

10:38:13   17      I'm currently having them printed out.     Can you please

10:38:17   18      provide us with Bates numbers and we can try to look on

10:38:20   19      our Relativity database?    Otherwise, the other

10:38:23   20      alternative is we take a five-minute break while these

10:38:25   21      documents are printing out, because we don't have them in

10:38:29   22      front of us right now.

10:38:32   23          MR ROCHE:      So you - I'm just reviewing the subpoena

10:38:37   24      right now, so it doesn't have a Bates stamp on it.       Did

10:38:40   25      you want to take five minutes now and print everything up



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10:38:44    1      or --

10:38:45    2          MS MARKOE:     I'm having it printed up.    If it's just

10:38:47    3      the subpoena, I don't think that I need to have that in

10:38:50    4      front of me, but if we start getting into more

10:38:52    5      substantive documents we may need to take a break,

10:38:55    6      because we just received these documents I think five,

10:38:58    7      maybe 10 minutes ago.

10:39:00    8          MR ROCHE:      Okay.

10:39:02    9          MS MARKOE:      Thanks.    And I'm not really sure how

10:39:04   10      many documents you sent us.

10:39:06   11          MR ROCHE:      Okay.

10:39:09   12          MS MARKOE:      Actually, how many are there?

10:39:10   13          MR ROCHE:      How many documents did I send through?

10:39:13   14          MS MARKOE:      Yeah.

10:39:14   15          MR ROCHE:      I think there's about - north of 50

10:39:19   16      documents in there.

10:39:20   17          MS MARKOE:      So we might need to take a longer

10:39:22   18      break, because that might take some time to print out,

10:39:25   19      given that we got it in the midst of the deposition.

10:39:29   20          MR ROCHE:      Okay.

           21      BY MR ROCHE:

10:39:32   22          Q.   Ms Wright, do you have the document that Sati

10:39:34   23      just handed to you in front of you?

10:39:36   24          A.   Yes, I do.

10:39:37   25          Q.   Do you recognize this document?



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10:39:38    1          A.   Yes, I got it via email.

10:39:42    2          Q.   Okay.     And you understand that this is a notice

10:39:49    3      of our taking your deposition today?

10:39:52    4          A.   Yes.

10:39:54    5          Q.   And did you - if you can go to the last page,

10:39:58    6      page 3, "Schedule A"?

10:40:00    7          A.   Yes.

10:40:01    8          Q.   Did you review this in advance of today's

10:40:03    9      deposition?

10:40:04   10          A.   Yes, I did.

10:40:07   11          Q.   Okay.     And have you gathered or taken any

10:40:13   12      efforts to gather documents responsive to this request?

10:40:16   13          A.   No, because I'm not submitting any to you.

10:40:18   14          Q.   And why?     Why are you not submitting any to us?

10:40:21   15          A.   Because - because I'm doing this voluntarily,

10:40:24   16      and I don't - I don't have to submit anything to you.

10:40:28   17          Q.   Okay.     And if we had to get a court order for

10:40:34   18      Australia to have these documents submitted, would you

10:40:36   19      comply with the court order?

10:40:38   20          A.   I would comply with it as far as I possibly

10:40:41   21      could, yes.

10:40:42   22          Q.   Okay.     So I want to focus on the first

10:40:48   23      documents, because it requests, "Any and all documents

10:40:50   24      evidencing communications between you and Craig Wright".

10:40:52   25      Do you have your communications between you and



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10:40:56    1      Craig Wright dating back to 2007?

10:40:59    2          A.   No, I don't.     I have --

10:41:01    3          Q.   What did you do --

10:41:02    4          A.   I have had multiple computers and the - I can't

10:41:08    5      afford a huge big computer, and the one that I have has

10:41:13    6      no emails on it from him at all.

10:41:16    7          Q.   Okay.     Do you have access to your emails on a

10:41:19    8      web-based platform?

10:41:22    9          A.   No.    No - well, I have - no, I don't.

10:41:26   10          Q.   Okay.     So you have no emails between you and

10:41:30   11      Craig Wright from 2007 to the present?

10:41:32   12          A.   Not that I'm aware of, no.

10:41:36   13          Q.   Okay.     But did you look, before today, to

10:41:39   14      confirm whether or not you had any emails from

10:41:42   15      Craig Wright?

10:41:43   16          A.   I - I did a very basic, very cursory look.

10:41:48   17          Q.   Okay.     And what did that look reveal?

10:41:52   18          A.   Well, I think it brought up stuff that - that

10:41:56   19      had his name in it, but nothing directly - there might

10:42:01   20      have been a couple of things directly from him, but that

10:42:06   21      were after we split up.

10:42:13   22          Q.   Okay.     So you have no emails dating back to

10:42:16   23      2007 in your possession?

10:42:18   24          A.   No, not that I can find.

10:42:21   25          Q.   Okay.     And if you go to the second topic, "Any



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10:42:29    1      and all documents evidencing any communications between

10:42:31    2      you and counsel for Craig Wright", do you have those

10:42:34    3      communications?

10:42:35    4          A.   I have - I have a couple.     There wasn't a lot.

10:42:41    5          Q.   Okay.     And would you produce those documents in

10:42:49    6      response to the subpoena?

10:42:50    7          A.   Yes, I would.

10:42:51    8          Q.   Okay.     Would you mind sending those documents

10:42:53    9      along to us after this deposition is over?

10:42:59   10          A.   If I - no, I'm not unless you get a court

10:43:04   11      order.

10:43:04   12          Q.   Okay.     And, "Any and all documents referring" -

10:43:11   13      looking at topic 3 here - "Any and all documents

10:43:14   14      referring or related to W&K Info Defense Research, LLC".

10:43:17   15      Do you have any documents relating to W&K Info Defense

10:43:20   16      Research, LLC?

10:43:22   17          A.   No.

10:43:27   18          Q.   And topic 4, "Any and all documents referring

10:43:30   19      or relating to David Kleiman".    Do you have any documents

10:43:33   20      or communications relating to David Kleiman?

10:43:36   21          A.   No.

10:43:38   22          Q.   Okay.     Topic number 5, "Any and all documents

10:43:43   23      referring or relating to Ira Kleiman"?

10:43:45   24          A.   No.

10:43:46   25          Q.   Do you have any documents relating --



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10:43:47    1          A.     No.

10:43:49    2          Q.     Okay.    "Any and all documents referring or

10:43:50    3      relating to Bitcoin".      Do you have any documents

10:43:53    4      referring or relating to bitcoin?

10:43:57    5          A.     No.     Nothing other than what's been printed,

10:44:00    6      you know, in articles.

10:44:04    7          Q.     Okay.    So you have nothing other than articles,

10:44:10    8      publicly available articles --

            9          A.     That's correct?

10:44:11   10          Q.     -- when it comes to anything relating to

10:44:14   11      bitcoin?

10:44:14   12          A.     That's right.

10:44:15   13          Q.     Do you own any bitcoin?

10:44:16   14          A.     No.

10:44:17   15          Q.     Do you own any cryptocurrency whatsoever?

10:44:19   16          A.     None.

10:44:20   17          MS MARKOE:       Objection.   Relevance.

           18      BY MR ROCHE:

10:44:23   19          Q.     Okay.    And the topic number 7, "Any and all

10:44:26   20      documents related to trusts established by Craig Wright

10:44:30   21      to hold bitcoin or bitcoin related intellectual property

10:44:34   22      that was mined and/or created prior to 2014".        Do you

10:44:37   23      have any documents related to that request?

10:44:40   24          A.     None.

10:44:41   25          Q.     Okay.    Topic number 8.



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10:44:42    1               Any and all documents that relate to
10:44:45                    Satoshi Nakamoto, bitcoin mined by any
10:44:47    2               party to this suit ... or bitcoin related
10:44:51                    intellectual property created and/or
10:44:54    3               developed by any party to this suit prior
10:44:56                    to 2014.
            4
10:44:57           Do you have any documents related to that?
10:45:00    5          A.   None.

10:45:01    6          Q.      When was the first time you heard the term

10:45:03    7      "Satoshi Nakamoto"?

10:45:10    8          A.      Probably around 2012.

10:45:17    9          Q.      2012.   How did you hear about that term?

10:45:19   10          A.      In an article that my sister-in-law sent me.

10:45:23   11          Q.      Okay.   Did Craig ever mention the term

10:45:28   12      "Satoshi Nakamoto" to you?

10:45:30   13          A.      No.

10:45:34   14          Q.      And then the last one, "Any and all documents

10:45:37   15      relating to your divorce from Craig Wright".      Do you have

10:45:39   16      any documents relating to that?

10:45:41   17          A.      Well, you saw the document that was - that we

10:45:44   18      looked - we discussed this morning.

10:45:47   19          Q.      And did you have that document before today?

10:45:50   20          A.      Yes.

10:45:52   21          Q.      Okay.   And where - do you have other documents

10:45:54   22      relating to your divorce from Craig?

10:45:57   23          A.      No.

10:46:00   24          Q.      So is the document we looked at today the only

10:46:04   25      documents you have relating to your divorce from



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10:46:05    1      Craig Wright?

10:46:06    2          A.    Other than the divorce decree itself, yes,

10:46:08    3      that's the only one.

10:46:10    4          Q.    Okay.    So the only two things you have are the

10:46:14    5      divorce decree and the document we looked at today?

10:46:16    6          A.    Yes.

10:46:18    7          Q.    What's - do you have a copy of the divorce

10:46:20    8      decree?

10:46:21    9          A.    Yeah.

10:46:23   10          Q.    And would you be willing to provide that to the

10:46:28   11      law firms in this litigation?

10:46:32   12          A.    Yeah, if I - if you get the court order.

10:46:36   13          MR ROCHE:      Okay.

10:46:38   14          MS MARKOE:     Kyle, we produced a copy to you of the

10:46:43   15      divorce decree many, many months ago.

           16          MR ROCHE:      Okay.

           17      BY MR ROCHE:

10:46:49   18          Q.    But absent a court order, you wouldn't produce

10:46:53   19      to us your copy of the divorce decree?

10:46:55   20          A.    Well, yeah, I could - that I don't mind sending

10:46:57   21      off to you.    I just have to locate it again.

10:47:00   22          Q.    Okay.    So we will have somebody, after this

10:47:02   23      deposition, send you a follow-up email, and if you could

10:47:05   24      please send that information back to that person, it

10:47:09   25      would be greatly appreciated.    I will have someone from



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10:47:12    1      my firm send that email.

10:47:13    2          A.      Okay.   I just - to say, too, that I don't - my

10:47:17    3      scanner doesn't work, so it's going to be hard to scan it

10:47:21    4      and send it off to you.

10:47:23    5          Q.      Okay.   If - you know, obviously --

10:47:26    6          A.      What I can do is take a picture, a photo with

10:47:29    7      my phone?

10:47:30    8          Q.      That would be - if you could take a picture of

10:47:34    9      the pages and - with your phone and send it, that would

10:47:36   10      be appreciated.

10:47:36   11          A.      Okay.

10:47:47   12          Q.      Maybe we talked about your educational

10:47:49   13      background when Ms Markoe was questioning you.       What is

10:47:54   14      your employment history?

10:47:56   15          A.      For how long?

10:47:57   16          Q.      Let's start with when - what was your

10:48:03   17      employment when you first met Craig?

10:48:06   18          A.      I was nursing.

10:48:08   19          Q.      Okay.   And how long - are you still a nurse?

10:48:14   20          A.      I'm retired now, but you can never stop being a

10:48:17   21      nurse.

10:48:19   22          Q.      I have family members who are nurses and I can

10:48:22   23      relate to that.     So did you stay a nurse - when did you

10:48:28   24      retire from being a nurse, in the official capacity?

10:48:31   25          A.      Well, I stopped nursing in '98 when I went to



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10:48:35    1      work for - for the initial company, and then, over the

10:48:41    2      years, when - you know, when the companies were not going

10:48:46    3      that well, I also went out and worked, not so much as a

10:48:51    4      nurse, but utilized my nursing working with insurance

10:48:57    5      claims companies.

10:49:01    6          Q.     Okay.   And I want to just quickly go back to

10:49:05    7      the divorce documents.    You said that there is a - you

10:49:12    8      have the divorce decree and the schedule that we looked

10:49:15    9      at today; correct?     Those are the two documents that you

10:49:18   10      have?

10:49:19   11          A.     Yes, yes.

10:49:21   12          Q.     And is the one that Rivero Mestre provided to

10:49:26   13      you the same as the one you have in your possession?

10:49:30   14          A.     Yes.

10:49:31   15          Q.     Okay.   There is no difference?

10:49:34   16          A.     No.

10:49:41   17          Q.     Okay.   And do you have a copy of that agreement

10:49:43   18      signed by Craig?

10:49:46   19          A.     I - I don't think so, because I think probably

10:49:54   20      Michael Shehadie may have that copy.

10:50:00   21          Q.     And why would he have that copy?

10:50:02   22          A.     Well, he was - he was acting for me in the

10:50:06   23      divorce.   But he --

10:50:10   24          Q.     Okay.   Was - go ahead, I'm sorry.

10:50:14   25          A.     He knew Craig as well, so that may be the



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10:50:17    1      reason why.

10:50:19    2          Q.    Was he acting for both of you?      Relevance

10:50:23    3          A.    I think - I think he - he - I was - I thought

10:50:27    4      he was acting for me, but I think that was more - see, we

10:50:34    5      didn't - we did the divorce ourselves.       We - we didn't go

10:50:39    6      through a solicitor to go - to go to, you know, through

10:50:44    7      the courts for us.    We put the paperwork in ourselves,

10:50:49    8      and then the agreement was brought up - was developed

10:50:57    9      with Michael Shehadie.

10:51:01   1
           10          Q.    So you submitted documents to Michael Shehadie

10:51:04   11
           1       and he prepared that document?                   Relevance

10:51:06   12
           1           A.    We submitted divorce - request for divorce to

10:51:11   13
           1       the courts ourselves.

10:51:14   14          Q.    Okay.    And was the document we looked at

10:51:16   15      earlier, the Schedule A - was that filed with the courts?

10:51:22   16          A.    I assume Michael did it.    I - I - look, I - I

10:51:26   17      never asked a lot - I suppose I didn't ask a lot of

10:51:31   18      questions I should have, but there was a lot of things

10:51:36   19      happening at the time.

10:51:38   20          Q.    Why do you think you should have asked

10:51:40   21      questions?

10:51:41   22          A.    Well, it probably would have been better for my

10:51:44   23      future.

10:51:45   24          Q.    Why?    Why do you think that?

10:51:49   25          MS MARKOE:     Objection.   Relevance.



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10:51:51    1          THE DEPONENT:     Yeah, just - just for my own peace

10:51:53    2      of mind, I guess.

            3      BY MR ROCHE:

10:51:56    4          Q.    And what things about the divorce agreement

10:52:02    5      have affected your peace of mind?

10:52:05    6          MS MARKOE:      Objection.    Relevance.

            7      BY MR ROCHE:

10:52:10    8          Q.    You can answer.

10:52:11    9          A.    Nothing, really.       I - look, I was happy enough

10:52:17   10      with that.   I still am.    You know, my - my concern at the

10:52:23   11      time, I guess, was, "Where am I going to go?"        Because

10:52:28   12      I don't have family here; I don't - like, Craig got all

10:52:33   13      the friends in the divorce, too, so - I think it was just

10:52:39   14      a matter of my own insecurities.

10:52:48   15          Q.    Okay.    I want to switch gears here for a

10:52:53   16      second.   We talked a little bit about your history with

10:52:56   17      Craig, and when did you - you said you first met Craig in

10:53:00   18      1996?

10:53:01   19          A.    Yes.

10:53:02   20          Q.    What was his occupation at the time?

10:53:05   21          A.    He was working for a company called OzEmail,

10:53:15   22      which was a - I guess a - a web-based company here in

10:53:20   23      Sydney.   And he - I - I am not sure - I'm not sure what

10:53:26   24      he did for them.    I think he was - was a client manager -

10:53:34   25      client manager.    I'm not sure.



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10:53:36    1            Q.    And at the time you met Craig, what was his

10:53:39    2      educational background?

10:53:42    3            A.    I believe he had an undergraduate degree which

10:53:48    4      he got through - through the military, because he was a

10:53:50    5      member of the military for a short time.

10:53:55    6            Q.    And this was before you met him?

10:53:56    7            A.    Yes.

10:53:57    8            Q.    Was he a member of the military when you met

10:53:59    9      him in 1996?

10:54:00   10            A.    No, he was not.

10:54:01   11            Q.    Okay.   And what was his degree in?

10:54:06   12            A.    I couldn't tell you.      I - I assume it was

10:54:09   13      probably some sort of science-based thing, but - because

10:54:13   14      he liked science and things like that.

10:54:17   15            Q.    And when did you get married?

10:54:20   16            A.    Late December '96.

10:54:24   17            Q.    Okay.   And do you know who Calvin Ayre is?

10:54:34   18            MS MARKOE:      Objection.    Relevance.    You can answer

10:54:37   19      it.

10:54:39   20            THE DEPONENT:     I don't know, no.        I don't know who

10:54:41   21      he is.     Oh, wait a minute.      Wait a minute.    That's the -

10:54:45   22      that's the Canadian guy with the bad hair, isn't it?

           23      BY MR ROCHE:

10:54:51   24            Q.    He is Canadian.

10:54:52   25            A.    Yeah, I've - I only - I'm only aware of him



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10:54:55    1      through - through the articles that I've seen.

10:55:04    2             Q.   Okay.   Has Craig ever mentioned Calvin Ayre to

10:55:09    3      you?

10:55:09    4             A.   No.

10:55:10    5             Q.   Do you know who Steven Matthews is?

10:55:12    6             A.   He was a client of ours through - I forget if

10:55:19    7      he was working with a credit union or - I think it was

10:55:23    8      with a credit union.     But we did - we did - whatever

10:55:28    9      company he was working for at the time, we did - we did

10:55:35   10      monitor - 24/7 monitoring for his - for that company, if

10:55:41   11      it was the one that I'm thinking of.

10:55:43   12             Q.   Okay, Lynn, what's the one you're thinking of?

10:55:46   13             A.   I'm thinking of the credit union.

10:55:47   14             Q.   Okay.   And do you know approximately when you

10:55:51   15      met Steven Matthews?

10:55:53   16             A.   I've never met him in person.   I've only dealt

10:55:55   17      with him through - through the work and through - like,

10:56:02   18      through emails and stuff.

10:56:04   19             Q.   And when did you first email with

10:56:07   20      Steven Matthews?

10:56:11   21             A.   God, I don't know.   It's been a long, long

10:56:14   22      time, because it had to do with - with work, and mostly

10:56:21   23      invoices that weren't paid or something.

10:56:26   24             Q.   Invoices that weren't paid by Steven Matthews?

10:56:29   25             A.   By that - by his company.



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10:56:31    1          Q.   What was his company?

10:56:32    2          A.   I can't recall if it was - if it was a credit

10:56:38    3      union or if it was an online casino that we did work for,

10:56:43    4      and that was one of our clients.        I can't recall which

10:56:46    5      one he worked for.

10:56:48    6          Q.   Okay.     What online casinos did Craig's
                                                                         Relevance
10:56:52    7      companies do work for?

10:56:54    8          A.   Lasseters.       It's the only legal online casino

10:56:58    9      in Australia - at that time.        I don't know if there is

10:57:02   1
           10      any more that have been added to it.

10:57:05   11          Q.   Okay.     And are you aware of whether or not

10:57:09   12      Craig had any other dealings with Steven Matthews outside

10:57:14   13      of his role as a client?

10:57:18   14          MS MARKOE:      Objection.

10:57:19   15          THE DEPONENT:      I - can I answer that?

10:57:22   16          MR ROCHE:      Yes.

10:57:23   17          MS MARKOE:      You can answer any question unless

10:57:25   18      someone tells you not to.

10:57:27   19          THE DEPONENT:      Okay.      I couldn't - I was trying to

10:57:29   20      get a hold of Craig.      This is - oh, no, I wasn't trying

10:57:36   21      to get a hold of him, I had an email, I think, from

10:57:40   22      Steven Matthews when Craig went to the UK, and I just -

10:57:46   23      this email, I think it was just - I just - you know, he

10:57:51   24      was just letting me know that Craig had gone, I guess had

10:57:55   25      gone to the UK.    I guess because at the time there was



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10:57:58    1      stuff in - in the news down here about it, and he wanted

10:58:04    2      to let me know that Craig was okay, and I - I - I hadn't

10:58:08    3      even heard the news, so it didn't bother me if he was

10:58:10    4      okay or not.

10:58:12    5          Q.     And was that the news relating to Craig and

10:58:14    6      bitcoin?

10:58:14    7          A.     Yeah - well, it was the news relating to the

10:58:18    8      ATO, the Australian Tax Office.

10:58:24    9          Q.     What news was that?

10:58:26   10          A.     The Australian Tax Office was auditing Craig

10:58:30   11      and the companies that we - that he had in - in the - in

10:58:37   12      Australia.   So that's what - like I don't know the extent

10:58:44   13      of what was going on, and I never asked, because I didn't

10:58:47   14      want to know.

10:58:49   15          Q.     Why didn't you want to know?

10:58:52   16          A.     Because I just didn't.   I had no interest.

10:58:56   17          Q.     Okay.   Did you have involvement in any of these

10:58:58   18      companies at that time?

10:58:59   19          A.     I had an - well, not the - what do you call

10:59:04   20      it - Information Security, my - by then, my involvement

10:59:10   21      was pretty well over, but the ATO was still - was still

10:59:17   22      interested in Craig.

10:59:20   23          Q.     Okay.   Do you still have a copy of that email

10:59:28   24      that Steven Matthews sent you?

10:59:31   25          A.     I don't know.



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10:59:33    1          Q.      Okay.   Is it possible that you do?

10:59:40    2          A.      Possible.   "Probable" I'm not sure, because

10:59:47    3      my - my computer crashed and I had to get a new one a

10:59:50    4      couple of years ago.     So that would have been more than a

10:59:53    5      couple of years ago.

10:59:54    6          Q.      Okay.   And what email service do you use?

11:00:01    7          A.      Well, my - my Internet service is from Telstra,

11:00:05    8      which is the telephone company over here, but I - the

11:00:08    9      only other email thing I have is - is Gmail.

11:00:14   10          Q.      Okay.   Have you ever deleted your Gmail

11:00:18   11      documents?

11:00:20   12          A.      Only to - only to put - what do you call it? -

11:00:25   13      to make room on my computer, because I have such a crappy

11:00:30   14      amount of memory on it.

11:00:33   15          Q.      Does Gmail store the - your documents on your

11:00:38   16      computer?

11:00:40   17          MS MARKOE:      Objection.   Foundation.

11:00:44   18          THE DEPONENT:       I honestly couldn't tell you.

11:00:46   19      I mean, I can go in and bring up some emails, like, you

11:00:50   20      know, do a search on them, but I don't know if - how much

11:00:53   21      is stored.

           22      BY MR ROCHE:

11:00:56   23          Q.      Okay.

11:00:56   24          A.      I am not - I am by - I am the furthest thing

11:01:00   25      from computer savvy you would ever want to meet.



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11:01:03    1          Q.     Okay.   Understood.   Do you know who Robert

11:01:07    2      MacGregor is?

11:01:08    3          MS MARKOE:      Objection.   Relevance.

11:01:10    4          THE DEPONENT:     The name rings a bell, but I'm not

11:01:13    5      sure.    I'm not sure if - is - is - he may have been the

11:01:19    6      one that did an article on Craig?

            7      BY MR ROCHE:

11:01:27    8          Q.     No, I'm asking --

11:01:29    9          A.     I'm not sure if - I know I did talk to somebody

11:01:31   10      that was doing an article, and he had a - he had a nice

11:01:36   11      Scottish accent, and "MacGregor" sounds Scottish, but

11:01:42   12      I couldn't - I don't know if it's the same person.

11:01:44   13          Q.     And when was the last time you received any

11:01:50   14      sort of financial payment from Craig?

11:01:52   15          A.     I - he pays me a monthly, I guess, sort of -

11:02:02   16      I don't know what you want to call it, but support, you

11:02:06   17      know, like alimony type thing.

11:02:09   18          Q.     And how much is the monthly support?

           19          A.     Five to six --

11:02:13   20          MS MARKOE:      Objection.

11:02:15   21          THE DEPONENT:     Five to six thousand a month, but

11:02:17   22      that would involve for the total care of this house and

11:02:20   23      stuff, so --

11:02:26   24      BY MR ROCHE:

11:02:27   25          Q.     Has Craig ever - strike that.      Has Craig ever



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11:02:29    1      given you bitcoin?

11:02:30    2             A.   No.

11:02:33    3             Q.   And are you currently financially dependent on

11:02:35    4      Craig?

11:02:36    5             A.   Yes.

11:02:39    6             Q.   Has Craig ever been accused of theft?

11:02:44    7             MS MARKOE:      Objection.        Relevance, foundation

11:02:46    8             THE DEPONENT:     Of theft?    No.

            9      BY MR ROCHE:

11:02:49   10             Q.   Of theft?                        , foundation
                                                       Relevance,
11:02:50   11             A.   No.     Not that I'm aware of.

11:02:52   12             Q.   Okay.
                                                  Relevance, foundation
11:02:53   13             A.   And it would surprise me, to be honest, if he

11:02:55   14      was.

11:02:57   15             Q.   Why would it surprise you?       Relevance, foundation
                                                                                    n

11:02:59   16             A.   Because he was just - he never struck me as the

11:03:02   17      type that would steal anything.

11:03:10   18             Q.   Okay.    I'd like to move on.    When did you first

11:03:19   19      learn of Craig's relationship with Ramona Watts?

11:03:24   20             MS MARKOE:      Objection.   Relevance.

11:03:28   21             THE DEPONENT:     In late 2010.

           22      BY MR ROCHE:

11:03:32   23             Q.   How did you learn about it?

11:03:36   24             MS MARKOE:      Objection.   Relevance.

11:03:40   25             THE DEPONENT:     I saw some - some pictures that one



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11:03:46    1      of her kids drew for him, and --

            2      BY MR ROCHE:

11:03:52    3          Q.   Okay.     And did you - I'm sorry, go ahead?

11:03:55    4          A.   I - I knew her kids, I knew her and her

11:03:58    5      husband, or her now ex-husband, so --

11:04:01    6          Q.   How did you know Ms Watts?

11:04:06    7          MS MARKOE:      Objection.

11:04:07    8          THE DEPONENT:     We met through - just socially, you

11:04:10    9      know?

11:04:10   10      BY MR ROCHE:

11:04:13   11          Q.   Socially.     And you met in Australia?

11:04:14   12          A.   Yes, yes.

11:04:16   13          Q.   Did she live near you in Australia?

11:04:19   14          A.   She --

11:04:21   15          MS MARKOE:      Again, objection.   Relevance.

11:04:23   16          THE DEPONENT:     She - well, not "near".    I mean, you

11:04:26   17      know, about - about probably an hour or so away.       I mean,

11:04:30   18      she lived down on - in the northern parts of Sydney, and

11:04:34   19      I'm up in the Central Coast, which is, you know, a while

11:04:39   20      away.

           21      BY MR ROCHE:

11:04:44   22          Q.   And did you confront - and I'm sorry, you know,

11:04:46   23      that these questions bring up - if they bring up any

11:04:50   24      memories, but it is my job to ask them.     Did you confront

11:04:57   25      Craig on --



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11:04:59    1          A.   Yes.

            2          Q.   And what --

11:05:01    3          MS MARKOE:     Kyle.   Kyle.   Kyle.    Kyle.   These are

11:05:04    4      completely irrelevant.     They are incredibly personal and

11:05:09    5      invasive and they have no place whatsoever in this case

11:05:12    6      or in this deposition.     I have given you a lot of leeway.

11:05:15    7      I think you need to stop now, because you are going well

11:05:20    8      beyond the bounds and this is actually getting to the

11:05:22    9      point of harassing her.

11:05:24   10          MR ROCHE:      Okay.

11:05:31   11          MS MARKOE:     You're going to - because I've made

11:05:31   12      objections that strike this entire line of questioning.

11:05:36   13      This is entirely inappropriate.     We will bring it in

11:05:39   14      front of the court.    Stop it now.

11:05:41   15          MR ROCHE:      Okay.   I would ask that you object when

11:05:42   16      you have any issues with my questions, but otherwise

11:05:45   17      allow me to answer the - ask the questions.         This is my

11:05:47   18      part of the deposition.     I did not interrupt you during

11:05:48   19      your part.

           20      BY MR ROCHE:

11:05:52   21          Q.   And how - what was the nature of that

11:05:53   22      confrontation?

11:05:57   23          A.   What do you think it was?         Of course I brought

11:05:59   24      it up to him.    And I - and I - be honest with you, I'm

11:06:04   25      getting a little pissed off right now with this.



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11:06:07    1             Q.   Okay.   Did - is it that conversation and

11:06:14    2      Craig's relationship with Ms Watts - is that what

11:06:18    3      triggered your separation with Craig?

11:06:19    4             A.   Yes.

11:06:20    5             MS MARKOE:   Objection.

            6      BY MR ROCHE:

11:06:23    7             Q.   Did Ms Watts ever work with Craig?

11:06:28    8             A.   Not that I'm aware of.

11:06:37    9             Q.   And how long did you stay married to Craig

11:06:39   10      after you discovered the relationship with Ms Watts?

11:06:46   11             A.   I don't know.   She wasn't the first one that he

11:06:52   12      was mucking about with, and no doubt won't be the last,

11:06:57   13      but probably I found out about her in December - or in

11:07:04   14      November, and we separated then.

11:07:10   15             Q.   So you separated in November of 2010?

11:07:14   16             A.   Yes.

11:07:16   17
            7             Q.   Okay.   When did Craig first mention bitcoin to

11:07:23   18
            8      you?

11:07:25   19
            9             A.   He never really mentioned it at all to me.

11:07:28   20
            0      He - he - I don't recall him ever using that term.       What

11:07:36   21
            1      I do recall is, years before, like around 2004/2005, he

11:07:47   22
            2      said to me one day, he said, "You know that the way of

11:07:51   23
            3      the future is digital currency?" and I said, "Well, what

11:07:56   24
            4      do you mean, 'digital currency'?" and he kind of

11:07:59   25
            5      explained it, "You know, just money sort of over the -



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11:08:06    1      like in - on computers, type thing, rather than cash in

11:08:13    2      hand", and I --

11:08:19    3          Q.      And - I'm sorry?

11:08:21    4          A.      And I said, "Well, you know, that's fine, you

11:08:22    5      know, that's great for people that trust computers", but

11:08:27    6      I didn't.

11:08:30    7          Q.      Did - would you say that Craig had a strong

11:08:32    8      interest in digital money in 2004?         Speculation,
                                                               p           foundati
                                                                           foundation
                                                                                  ion
                                                                                  i n

11:08:37    9          A.      Well, Craig had a strong - his - I think his

11:08:40   10
           10      primary interests were security at that point, but you

11:08:43   11
           1       never knew what was going through his mind.        He was

11:08:46   12
           12      always coming up with different ideas for stuff.        So, you

11:08:51   13
           13      know, wouldn't - it - yeah, he - he probably was thinking

11:08:54   14
           14      of ways of developing it.

11:08:57    5
           15          Q.      And when was the - so you said you had - the

11:09:01   16
            6      first conversation, time, he mentioned this was in

11:09:04   17
            7      2004/2005.    When was the next time you recall Craig

11:09:08   18
            8      mentioning bitcoin?

11:09:10   19
            9          A.      He - not again.    I don't ever remember him

11:09:16   20
            0      saying the word "bitcoin".         I know it's written in the -

11:09:20   21      into the divorce thing, but all - I just - there's a lot

11:09:26   22
            2      of - you know, there was a lot of things that I guess

11:09:31   23
            3      I just didn't put too much stock in, and that was one of

11:09:36   24
            4      them.

11:09:40   25
            5          Q.      So between 2004 and the divorce, there was no



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11:09:48    1      mention of bitcoin --

11:09:49    2          A.      No.

11:09:50    3          Q.      -- by Craig to you?

11:09:51    4          A.      No.   I don't --

11:09:53    5          MS MARKOE:      Objection.

11:09:55    6          THE DEPONENT:      I don't ever remember him mentioning

11:09:57    7      it again after that "digital currency" remark that he

11:10:00    8      made.

            9      BY MR ROCHE:

11:10:04   10          Q.      Do you know if Craig had any other projects

11:10:07   11      that he didn't mention to you?

11:10:11   12          MS MARKOE:      Objection.      Foundation.

11:10:16   13          THE DEPONENT:      He had that Spyder thing, but I knew

11:10:19   14      about it.    No, I don't - I - I don't - I don't recall

11:10:27   15      anything else.

           16      BY MR ROCHE:

11:10:33   17          Q.      Did Craig ever tell you he was writing a paper

11:10:36   18      related to digital money?

11:10:39   19          A.      I don't recall that.      He was always writing

11:10:42   20      papers, but I don't ever recall him writing one about -

11:10:48   21      about    digital money or anything.

11:10:58   22          Q.      And did Craig ever tell you about a -

11:11:03   23      Dave Kleiman's involvement in bitcoin?

11:11:06   24          A.      No.

11:11:07   25          MS MARKOE:      Objection.      Asked and answered.



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11:11:09    1          THE DEPONENT:         No, he never told me that there was

11:11:11    2      any involvement.

            3      BY MR ROCHE:

11:11:16    4          Q.     And when did Craig first mention Dave Kleiman

11:11:19    5      to you?

11:11:24    6          A.     Oh, I knew he - I - you know, when he first

11:11:30    7      started chatting with him.         It was mostly - I guess,

11:11:34    8      probably, most of it was online, and then they would

11:11:37    9      call, you know, and he would - I knew about him, and then

11:11:41   1
           10      when we went to the States he said, "Oh, we're going to

11:11:44   11
           1       meet him."   So --

11:11:48   12
           1           Q.     So did he tell you before you were going to the

11:11:51   13
           1       States that you were going to meet Dave Kleiman?

11:11:53   14
           1           A.     Yes.    Yes.    Before - specifically, before we

11:11:56   1
           15      went to Orlando, to the Orlando conference, because we

11:12:04   16
           1       knew that he - that Dave lived relatively close to there.

11:12:10   17
           1           Q.     Okay.   And so did Dave drive up to - did you

11:12:12   18
           1       meet Dave at the conference itself?

11:12:14   19
           1           A.     Yes, at the hotel, yes.

11:12:16   20          Q.     Okay.   And how many nights did you or - strike

       0
11:12:20   21      that.    Did you just meet with Dave once or was it over

       3
11:12:23   22      multiple days?

       5
11:12:25   23          A.     It was over multiple days.       I think two or

       7
11:12:27   24      three times we met with him for - you know, for supper or

       2
11:12:32   25      for just - even just to sit around and chat and have



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11:12:37    1      drinks, that sort of thing.

11:12:39    2            Q.   Was this at a restaurant?

11:12:41    3            A.   Was at the hotel.

11:12:44    4            Q.   At the hotel that you and Craig were staying

11:12:46    5      at?

11:12:46    6            A.   Yes, yes.     And Dave - we went out driving with

11:12:52    7      him because, having been from Canada, I - and we don't

11:12:57    8      have Walmart over here - I had to have a Walmart hit, so

11:13:03    9      he took me to a Walmart.

11:13:06   10            Q.   Okay.   And you discussed earlier that Dave

11:13:12   11      discussed his relationship with his brother to you;

11:13:16   12      correct?

11:13:17   13            A.   Yes.    Not in depth.

11:13:20   14            Q.   And which brother?

11:13:23   15            A.   Well, he - I didn't ask for names.    I wasn't

11:13:27   16      sure if - which - I - I knew that he had two siblings.

11:13:35   17      I thought that the other sibling - I knew he had a

11:13:38   18      brother and I thought the other one was a sister, but

11:13:42   19      it - I - I guess it was another brother that he had.

11:13:46   20            Q.   Okay.   So you don't know which brother Dave was

11:13:51   21      mentioning when he discussed the relationship?

11:13:55   22            A.   No, no.   I didn't ask.   He didn't sound -

11:14:00   23      I didn't want to go into it because it upset him.

11:14:04   24            Q.   Understood.    Did Craig and Dave discuss any of

11:14:14   25      their business - businesses - when they were down in



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11:14:17    1      Florida?

11:14:18    2          A.     Not in front of me, but --

11:14:19    3          Q.     And do you know if they had conversations

11:14:22    4      between themselves?

11:14:24    5          A.     No, I don't know.

11:14:26    6          Q.     You don't know.    Did Craig ever tell that you

11:14:31    7      he was mining bitcoin?

11:14:33    8          A.     He never said anything, no.

11:14:40    9          Q.     Did Craig ever discuss any businesses he had in

11:14:43   10      Florida?

11:14:47   11          A.     Not - not other than W&K and --

11:14:52   12          Q.     Did he - go ahead.

11:14:54   13          A.     Any businesses?    No, I don't - he never

11:14:58   14      mentioned anything.

11:15:06   15          Q.     Did he discuss any business activity he had in

11:15:10   16      Costa Rica?

11:15:12   17          A.     No.   No, not at all.

11:15:16   18          Q.     Did Craig discuss any businesses he had in any

11:15:19   19      other country besides Australia?

11:15:24   20          A.     No.   I mean, we did work for a company in

11:15:28   21      India, but it was only as DeMorgan Information Security

11:15:35   22      Systems that we did the work.      He didn't - he didn't

11:15:37   23      start companies over there.

11:15:43   24          Q.     DeMorgan was - had operations in India or did

11:15:48   25      work with clients in India?



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11:15:49    1          A.      No, clients in India.

11:15:52    2          Q.      Okay.   And what was the nature of that work?

11:15:54    3          A.      Security - we did a security assessment of

11:15:56    4      their networks.

11:15:59    5          Q.      Okay.   And at any point in time, and this is up

11:16:07    6      to present day, has Craig ever told you how many - how

11:16:12    7      much bitcoin he has?

11:16:13    8          A.      No.

11:16:14    9          Q.      Have you ever asked him?

11:16:15   1
           10          A.      No.

11:16:18   11
           1           Q.      Do you - has Craig ever discussed his net worth

11:16:21   12
           1       with you?

11:16:21   13
           1           A.      No.

11:16:24   14
           1           Q.      Has Craig ever discussed any of his current

11:16:26   1
           15      business dealings with you?

11:16:27   16
           1           A.      No.

11:16:33   17          Q.      What were your impressions of Dave Kleiman?

11:16:37   18          A.      I had so much respect for him.   I - I describe

11:16:46   19      him as a gentle soul, and the respect for him comes from

11:16:50   20      the fact that he was willing to serve his country, he

11:16:56   21      went over to the Gulf War, was horrendously wounded and

11:17:01   22      came back a quadriplegic, and he, to me, never seemed to

11:17:06   23      hold it against anybody.     Like he - he - you know, he -

11:17:13   24      it was sort of - I think it frustrated him at times, but

11:17:18   25      that's just my opinion.     But, again, he was a very gentle



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11:17:24    1      soul.

11:17:26    2          Q.     And did Craig tell you that Dave was injured in

11:17:31    3      the Gulf War or did somebody else, or did Dave, excuse

11:17:37    4      me, tell you?

11:17:38    5          A.     Craig did, after - before the first time we

11:17:44    6      met, he said, "You know, Craig's in a" - "Dave's in a

11:17:50    7      wheelchair.   He's a quadriplegic", and he said that he

11:17:56    8      thinks that it had happened in the - in the Gulf War.

11:18:01    9          Q.     Okay.   And when you say Dave was a

11:18:07   10      quadriplegic, he was paralyzed from the neck down?

11:18:09   11          A.     Well, yes, he could use his arms but he didn't

11:18:12   12      have fine motor control of his hands.

11:18:16   13          Q.     Okay.   And did Craig admire Dave?

11:18:27   14          A.     Yes, he did.   He had --

11:18:31   15          Q.     And what --

11:18:32   16          A.     He had a lot of respect for Dave.

11:18:33   17          Q.     Okay.   And, you know, you mentioned one reason,

11:18:38   18      are there any other reasons why you understand Craig

11:18:41   19      admired Dave?

11:18:42   20          A.     Well, I think that - for his knowledge, too, in

11:18:47   21      information security, because that was Dave's field as

11:18:51   22      well.    So, you know, I think they had sort of a - a

11:18:55   23      mutual admiration club going on there.

11:19:03   24          Q.     Was Dave a brilliant person?

11:19:09   25          A.     Well, I mean, when it came to - when it came to



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11:19:15    1      information security, I would say "Yes".      But then

11:19:18    2      that's - I mean, that's coming from somebody that, you

11:19:21    3      know, has trouble turning her computer on.

11:19:25    4          Q.   And so what's the basis of your understanding

11:19:27    5      that Dave was brilliant in computer security?

11:19:31    6          A.   I guess just, you know, talking to him when

11:19:35    7      I was over there.    They discussed a lot of - somebody

11:19:39    8      else joined the group, and I can't remember this man's

11:19:43    9      name, but he was also in information security, and the -

11:19:48   1
           10      just the - I'd just sit back and listen to them talk

11:19:52   11
           1       technical stuff.    So --

11:20:03   12          MR ROCHE:      Okay.    If we can - how about we take a -

11:20:07   13      at some point, Zaharah - it's our dinner time here.           Have

11:20:11   14      you guys eaten?    It might make sense for us to take a

11:20:15   15      break now, because I think we're going to get into

11:20:18   16      documents, and if we take maybe a 20-, 25-minute break

11:20:21   17      for us to grab some food and you guys can print off the

11:20:24   18      documents?

11:20:24   19          MS McGOVERN:      Kyle this is Amanda McGovern.      We

11:20:29   20      have the documents printed and, frankly, they are quite

11:20:32   21      voluminous.

           22          MR ROCHE:      Okay.

11:20:34   23          MS McGOVERN:      Do you intend to go over every single

11:20:36   24      document in this deposition today?

11:20:39   25          MR ROCHE:      I don't intend to go over every single



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11:20:41    1      document.   I wanted to make sure you had them all so that

11:20:44    2      if I refer to one you can - it's there handy.

            3          MS McGOVERN:      Okay.    Well, just --

11:20:47    4          MR ROCHE:      But I have to admit, it's late over

11:20:51    5      here.

11:20:53    6          MS McGOVERN:      Yeah.    It's late, well, we're in the

11:20:55    7      same time zone.    Yeah.   So we're - you and I, we're in

11:20:57    8      the same time zone.

            9          MR ROCHE:      Yeah.

11:20:59   10          MS McGOVERN:      So it's late.    And so the question

11:21:01   11      is, it's 7.20pm.     We've spent time on Lynn's personal

11:21:04   12      relationship with Craig and the manner in which they got

11:21:07   13      divorced, which we find totally inappropriate.        We have

11:21:11   14      seen some documents here which further go into that,

11:21:13   15      which are going to be completely inappropriate.        How long

11:21:16   16      are you going to take with Ms Wright in this deposition?

11:21:22   17          MR ROCHE:      I imagine it will be a number of hours.

11:21:23   18      It's not going to be seven, but I imagine it will be a

11:21:26   19      number of hours.

11:21:29   20          MS McGOVERN:      What is "a number of hours", Kyle?

11:21:31   21      It's 7.30 in the evening --

11:21:33   22          MR ROCHE:      Amanda, I can't predict that.     You know,

11:21:37   23      I can - I'm trying to give you a rough ballpark, but I

11:21:40   24      can't predict.     I think we should take a break now and

11:21:42   25      then I can - we'll be good to go, and when the



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11:21:44    1      deposition's over, it's over.

11:21:49    2             MS McGOVERN:     Okay.    Look, we're going to reserve

11:21:50    3      our rights on the record for any areas of testimony that

11:21:53    4      are personal in nature and that do not go to the issues

11:21:55    5      in this case regarding bitcoin and IP.        Just stating that

11:22:04    6      now.

            7             MR ROCHE:      Okay.

11:22:06    8             MS McGOVERN:     Particularly since it's 7.30 in the

11:22:08    9      evening on a Sunday, and you've already spent a lot of

11:22:11   10      time on stuff that's nothing to do with this case.

11:22:14   11      We're reserving our rights in front of judge -

11:22:17   12      Magistrate Reinhart.

11:22:17   13             MR BRENNER:     Amanda, just so the record is clear,

11:22:20   14      you guys did set the depo for 5 o'clock on a Sunday, so

11:22:23   15      let's not cry about it being 7.30.         And we objected to

11:22:29   16      it, by the way.       So we can - let's just - let's just be

           17      clear with each other.

           18             MS McGOVERN:    Andrew - yeah, I'm not - Andrew, I'm

11:22:33   19      not - I'm not crying, Andrew.        Don't refer to me as

11:22:36   20      "crying" on the record.         I find that highly insulting.

           21             MR BRENNER:     Those are crocodile tears.    Let's not

           22      get all sensitive.        You did set a deposition for

11:22:43   23      5 o'clock on a Sunday.        To start objecting after - and

11:22:43   24      you spent about an hour and a half on direct, I think.

11:22:47   25      To start objecting to the time and the date of it is just



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11:22:49    1      not going to work.    We wanted you to get a normal time of

11:22:53    2      the day.   So --

            3          MS McGOVERN:      Talking to Lynn about the personal --

            4          MR BRENNER:      We've got seven hours to take the

            5      depo, hopefully it will take less.

            6          MS McGOVERN:     That's just not going to work.      Stop

            7      there right now.

11:23:00    8          MR BRENNER:      What are you telling me right now?

11:23:04    9      What are you talking about?

11:23:04   10          MS McGOVERN:      What is not going to work is some of

11:23:07   11      these deposition exhibits that go into the personal

11:23:10   12      circumstances surrounding the divorce between Lynn and

11:23:14   13      Craig Wright that have zero to do with bitcoin and IP and

11:23:20   14      are clearly meant to harass the witness.        That is not

11:23:23   15      going to work.

11:23:24   16          MR BRENNER:      That we'll take up as it happens.        But

11:23:26   17      the time is - the time is what it is.     It's not good for

11:23:28   18      anyone, but we will power through.

11:23:31   19          MR ROCHE:      All right.   Ms Wright --

11:23:34   20          MS McGOVERN:     Okay, Mr Brenner, let's go.

11:23:38   21          MR ROCHE:      -- I believe it's 23 minutes past the

11:23:40   22      hour.   Let's plan on reconvening at 50 minutes past the

11:23:44   23      hour and I will try to move the deposition along as

11:23:46   24      quickly as I can.

11:23:50   25          THE VIDEOGRAPHER:     Okay.    Going off the record at



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11:23:54    1      11.23.   End of tape 2.

            2      (11.23am)

11:53:15    3          (A short break)

            4      (11.53am)

11:53:19    5          THE VIDEOGRAPHER:      Going back on the record at

11:53:21    6      11.53am.    Commencement of tape 3.   Proceed.

11:53:28    7          MR ROCHE:      Sati, if you could introduce tab 38.

            8      BY MR ROCHE:

11:53:32    9          Q.      Ms Wright, let me know when you have the

11:53:34   10      document that Sati is about to hand you in front of you.

           11          A.      Yes.

11:53:39   12          MR ROCHE:      For the record, this is document with

11:53:42   13      Bates stamp ending in 640897.

11:53:51   14          THE VIDEOGRAPHER:      USA, this is the videographer.

11:53:54   15      You are introducing documents.     Are you giving them

11:53:56   16      exhibit numbers for our court reporter?

11:54:00   17          MR ROCHE:      Yes.   Are you - what exhibit number are

           18      we on?

           19          THE COURT REPORTER:      You didn't tender the document

           20      that was the subpoena, you just produced it.      Do you want

           21      that marked as exhibit 4?

           22          MR ROCHE:      Yes.   Please mark that as exhibit 4,

11:54:23   23      and, for the record, exhibit 4 is the subpoena served by

11:54:24   24      plaintiffs to Miss Lynn Wright.

           25                  (Exhibit 4 marked for identification)



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11:54:32    1          MR ROCHE:          And exhibit 5 is the document ending in

11:54:33    2      Bates stamp 640897.

11:54:45    3                    (Exhibit 5 marked for identification)

11:54:45    4      BY MR ROCHE:

11:54:49    5          Q.        Ms Wright do you recognize this document?

11:54:51    6          A.        No, I don't remember it.

11:54:54    7          Q.        Okay.    So I'm just going to read - it is an

11:54:55    8      email, it looks - it is an email chain between

11:54:59    9      craig.wright@hotwirepe.com - do you recognize that email

11:55:04   10      address?

11:55:08   11          A.        No.     I - I - very vaguely.   I have some vague

11:55:14   12      memory of the - of the - not the email address so much as

11:55:17   13      the "hotwire" name.

11:55:22   14          Q.        Okay.    And is Lynn - "lynnbw14@gmail.com" - is

11:55:28   15      that you?

11:55:29   16          A.        Yes, it is.

11:55:30   17          Q.        Okay.    And in this email, it's dated April

11:55:33   18      20th, 2015, Craig writes,

11:55:36   19               Hi,
11:55:37                    I own the... 'DeMorgan' etc again... It
11:55:42   20               took some time but I won.

11:55:47   21               What I will get you to confirm.

11:55:48   22               1. That I dealt with Dave offshore from
11:55:51                    2010 on.
           23
11:55:51                    2.   That Dave setup companies for me.
           24
11:55:53                    3. That I had banking in Panama and
11:55:58   25               Guatemala before 2009.
11:55:59




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11:55:59    1               4. That I was working on markets, Bitcoin
11:56:01                    and other areas in 2009 on.
            2

11:56:04    3          A.      Mmm-hmm.

11:56:04    4          Q.      And then you write back:

11:56:07    5               Will DeMorgan be taking over all the other
11:56:09                    companies you have? What exactly do you
11:56:11    6               [know] now?

            7
11:56:13           And then:
            8
11:56:14                    Did we not start dealing with Dave in 2009?
            9

11:56:18   10      So, first, what is this document in relation to?

11:56:23   11          A.      I cannot - I don't know.     I have - I don't have

11:56:26   12      any memory of this.

11:56:30   13          Q.      Okay.   Do you have any idea why Craig would

11:56:33   14      reach out to you in April 2015, to get you to confirm --

11:56:37   15          MS MARKOE:       Objection.    Calls for speculation.

11:56:41   16          THE DEPONENT:      Do I answer?

11:56:44   17          MR ROCHE:       Yes.

11:56:45   18          MS MARKOE:       Yes, you can answer the question unless

11:56:46   19      you are instructed not to.

11:56:48   20          THE DEPONENT:      Okay.     Sorry, do I have - what was

11:56:49   21      the question again, Kyle?

           22      BY MR ROCHE:

11:56:52   23          Q.      Yes, do you know why Craig was reaching out to

11:56:54   24      in 2015?

11:56:55   25          A.      No, I don't.



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11:56:57    1          Q.      Okay.   Do you not know why he wrote:

11:57:00    2               Did we not start dealing with Dave in 2009?

11:57:04    3          MS MARKOE:       Objection.

11:57:06    4          THE DEPONENT:      No, I have - I have no memory of

11:57:07    5      this at all.

            6      BY MR ROCHE:

11:57:09    7          Q.      Okay.   Do you know what you're referring to

11:57:11    8      when - "banking stuff" - when you use the term "banking

11:57:17    9      stuff"?

11:57:18   10          MS MARKOE:       Objection.

11:57:21   11          MR ROCHE:       I - I would - no.   I would assume that

11:57:24   12      it had to do with bank accounts for - but 2015 doesn't

11:57:29   13      make sense, because I wasn't involved with anything then.

11:57:34   14          Q.      Okay.   So you don't know what banking stuff

11:57:39   15      Craig is referring to in this email?

11:57:41   16          A.      No.

11:57:42   17          MS MARKOE:       Objection.   She is referring to

11:57:44   18      "banking stuff".     You are misstating the document.

11:57:49   19          MR ROCHE:       Understood.

           20      BY MR ROCHE:

11:57:52   21          Q.      You don't know why - Ms Wright, do you know why

11:57:53   22      you used the term "the banking stuff".

11:57:57   23          MS MARKOE:       Objection.   Asked and answered.

11:57:59   24          THE DEPONENT:      No, I don't.

           25      BY MR ROCHE:



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11:58:00    1             Q.      Do you know what dealings Craig had with Dave

11:58:02    2      in 2009?

11:58:06    3             A.      No.   No, I don't.    I could only assume, and

11:58:11    4      that's - I won't.

11:58:14    5             Q.      Okay.   And you - do you have any understanding

11:58:18    6      of what dealings Dave had with Craig in 2009?

11:58:25    7             MS MARKOE:      Objection.    Asked and answered.

11:58:28    8             THE DEPONENT:      No.   Again, I could only assume, but

11:58:29    9      that's not what you want.

           10      BY MR ROCHE:

11:58:37   11             Q.      Well, what do you mean, you can "only assume"?

11:58:41   12             A.      Well, I would just - I would assume that it

11:58:43   13      had - it would have to do with information security, or -

11:58:51   14      or possibly the tenders that we put in.

11:58:58   15             Q.      Okay.   And it says at the bottom:

11:59:02   16                  I do remember you working privately on
11:59:05                       Bitcoin and such well before 2009.
           17

11:59:08   18      Do you know what that statement is in reference to?

11:59:11   19             A.      No.

11:59:15   20
           2              Q.      Okay.   So you don't know what you were talking

11:59:17   21
           2       about in this email with Craig?

11:59:20   22
           2              A.      I don't remember it.

11:59:27   23             Q.      And does the email refresh your recollection at

11:59:29   24      all?

11:59:30   25             A.      No.



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11:59:31    1          MS MARKOE:        Objection.   She's already answered that

11:59:33    2      question.

11:59:33    3          THE DEPONENT:        No, it confuses me more.

            4      BY MR ROCHE:

11:59:50    5          Q.      Do you have --

            6          MS MARKOE:        Can I just --

            7      BY MR ROCHE:

11:59:53    8          Q.        Do you believe this email is forged?

11:59:56    9          MS MARKOE:        Objection.

11:59:58   10          THE DEPONENT:       I wouldn't - I don't know.

12:00:00   11      I wouldn't - I wouldn't think it is, but I can't - I -

12:00:10   12      I don't understand the time frame.

           13      BY MR ROCHE:

12:00:18   14          Q.      What --

12:00:23   15          MS MARKOE:        Kyle, what exhibit number is this?

           16          THE DEPONENT:       I'm sorry?

           17          MS MARKOE:        What exhibit number is this?

           18      BY MR ROCHE:

12:00:27   19          Q.      What didn't you understand?

12:00:29   20          A.      Just the - the 2015 time frame.     Because it

12:00:40   21      was - I - I don't remember if - was he in - I don't know

12:00:46   22      if he was in the UK then or not.       It might have been when

12:00:51   23      he was still here.      What surprises me most is that we

12:00:59   24      rarely - we rarely communicated, he and I, so --

12:01:05   25          Q.      Okay.



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12:01:06    1          A.    And I guess I just tend to just forget

12:01:09    2      everything that he had to say.

12:01:13    3          Q.    And you rarely communicated after you

12:01:16    4      separated; correct?

12:01:17    5          A.    Yes.

            6          MS MARKOE:      Objection.

            7      BY MR ROCHE:

12:01:19    8          Q.    And that separation occurred in November 2010?

12:01:23    9          A.    Yes.    Officially, November 2010, but he didn't

12:01:29   10      leave the premises until May 2011.

12:01:36   11          Q.    Okay.    You didn't discuss business dealings

12:01:40   12      with him after you separated?

12:01:43   13          MS MARKOE:      Objection.

12:01:44   14          THE DEPONENT:     No, not unless it had directly to do

12:01:46   15      with what - well, I was working some place else by then

12:01:51   16      so, no, not that I recall about anything.

           17      BY MR ROCHE:

12:02:02   18          Q.    Where was W&K Info Defense Research

12:02:07   19      incorporated?

12:02:09   20          A.    I would assume that it was where Craig was

12:02:14   21      living.   He always worked from home.

12:02:19   22          Q.    When was it, W&K Info Defense Research,

12:02:23   23      incorporated?

12:02:24   24          A.    It wasn't --

12:02:26   25          MS MARKOE:      Objection.   Asked and answered.



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12:02:29    1          THE DEPONENT:     It wasn't - it wasn't incorporated.

            2      BY MR ROCHE:

12:02:31    3          Q.    What was it?

12:02:32    4          A.    It was just - just W&K Information Defense.         It

12:02:38    5      was - it was not like - over here, it would have had to

12:02:41    6      have been a "proprietary limited" to be incorporated, and

12:02:43    7      it wasn't.

12:02:47    8          Q.    Okay, so what did - what type of entity was W&K

12:02:52    9      Info Defense Research?

12:02:53   10          A.    Part of Cloudcroft, as far as I know.

12:02:59   11          Q.    What was W&K's business purpose?

12:03:04   12          MS MARKOE:      Objection.   Asked and answered.

12:03:07   13
           1           THE DEPONENT:      If you recall back to the tenders

12:03:09   14
           1       that we were putting in, it would always - if we were

12:03:14   1
           15      putting in a tender for an American firm or - or company

12:03:19   16
           1       or - or government entity over there, that we could do

12:03:23   17
           1       work for, it always - we would put it through Dave in the

12:03:28   18
           1       US as - as the contact, because then, it comes from a US

12:03:37   19
           1       company, I guess, for lack of a better term.

           20      BY MR ROCHE:

12:03:41   21          Q.    And that's because Dave ran it, the company in

12:03:43   22      the US?

12:03:45   23          MS MARKOE:      Objection.

12:03:46   24          THE DEPONENT:     No.   Craig ran the company.     Dave

12:03:48   25      was sort of the contact.    And he - I mean, I'm not - I'm



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12:03:52    1      not saying he didn't have input into things, but he was

12:03:56    2      the central contact figure there.

12:04:02    3          MR ROCHE:      Could we introduce tab 2, please.

            4      Please mark that as exhibit 6.

12:04:29    5               (Exhibit 6 marked for identification)

12:04:32    6      BY MR ROCHE:

12:04:33    7          Q.   Ms Wright, do you recognize this document?

12:04:43    8          MR BRENNER:      Kyle, can you read out the Bates

12:04:45    9      stamp, please?

12:04:47   10          MR ROCHE:      It's not Bates stamped.

           11          MR BRENNER:     Okay.

12:04:48   12          MR ROCHE:      Oh, strike that.   The Bates stamp is -

12:04:50   13      it's not marked on the document that I can present.       The

12:04:54   14      Bates stamp is DEFAUS_01070641.

           15      BY MR ROCHE:

12:05:08   16          Q.   Miss Wright, I apologize for interrupting.        Do

12:05:11   17      you recognize this document?

12:05:14   18          A.   No, I don't.       And it - no, I don't.   And

12:05:20   19      I don't know this Verne Tongood.

12:05:24   20          Q.   Okay.

12:05:25   21          A.   But --

12:05:26   22          Q.   Pardon me?

12:05:27   23          A.   But then that - they would - I don't know if

12:05:29   24      they were just a - a witness to it.      I don't know.

12:05:35   25          Q.   Okay.     If you could turn to page 2 of the



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12:05:38    1      document?

12:05:39    2          A.      Yes.

12:05:41    3          Q.      Is that your signature?

12:05:42    4          A.      It certainly looks like it, yes.

12:05:45    5          Q.      Okay.   And is that how - is that how you sign

12:05:50    6      your name?

12:05:51    7          A.      Yes.

12:06:08    8          Q.      Do you recall signing this affidavit?

12:06:10    9          A.      No.

12:06:12   10          Q.      Are you aware that Craig filed claims in

12:06:17   11      Australia against W&K?

12:06:19   12          A.      Sorry, what was that?

12:06:20   13          Q.      Are you aware that Craig filed legal claims in

12:06:25   14      Australia against W&K Info Defense?

12:06:30   15          A.      No, I wasn't.

12:06:40   16          Q.      Okay, in this, your affidavit, you write - I'm

12:06:46   17      on page - the second page of the document at paragraph 6:

12:06:50   18               Mr Kleiman and Dr Wright engaged in
12:06:53                    contracts under the US Dept of Homeland
12:06:57   19               Security BAA program through W&K Info
12:07:04                    Defense LLC.
           20

12:07:05   21      Sorry, I didn't even see the second page.      Hang on a

12:07:07   22      second.

12:07:11   23          Q.      I'm looking at paragraph 6.    Have you reviewed

12:07:28   24      paragraph 6?

12:07:29   25          A.      Yes, I have.    To the best of my knowledge, we -



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12:07:32    1      yes, we put tenders in but we didn't get the tenders.

12:07:43    2          Q.   And do you know what those tenders were in

12:07:45    3      relation to?

12:07:52    4          A.   Information security.      I don't know the -

12:07:59    5      I can't remember what the specifics are, and I wouldn't

12:08:02    6      have understood them anyway.

12:08:05    7          Q.   Okay.     Have you read any of the filings related

12:08:11    8      to the litigation here in the United States against

12:08:15    9      Craig Wright?

12:08:16   10          A.   No.

12:08:16   11          Q.   Okay.

12:08:17   12          A.   I have - I don't think I - I haven't had access

12:08:20   13      to any of them and I haven't asked for any of them.

12:08:23   14          Q.   Understood.     And are you aware that Craig has

12:08:26   15      sworn that he never had any ownership in W&K?

12:08:30   16          MS MARKOE:      Objection.   Foundation.

12:08:36   17          THE DEPONENT:     Yeah, I think - I - yeah, he - I am

12:08:40   18      aware that he - that he didn't have - that he stated that

12:08:44   19      he hasn't had ownership in it.

           20      BY MR ROCHE:

12:08:52   21          Q.   Okay.     Do you know who Uyen Nguyen is?

12:08:56   22          A.   No.

12:08:57   23          Q.   And I will spell her name, just because I could

12:08:59   24      be butchering it, it is a Vietnamese name.        Uyen -

12:09:03   25      U-Y-E-N space N-G-U-Y-E-N.



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12:09:06    1          A.     Yeah.

12:09:07    2          Q.     Have you heard that name before?

12:09:08    3          A.     No, not to the best of my knowledge, but - you

12:09:12    4      know.

12:09:14    5          Q.     Do you have any idea of whether or not she was

12:09:15    6      involved in W&K Info Defense Research?

12:09:20    7          MS MARKOE:      Objection.   Foundation.

12:09:23    8          THE DEPONENT:      I have no knowledge of that.

            9      BY MR WRIGHT:

12:09:29   10          Q.     And if somebody was involved in W&K Info

12:09:35   11      Defense Research, would you have not - would you know

12:09:38   12      whether or not they were involved?

12:09:41   13          MS MARKOE:      Objection.   Calls for speculation.

12:09:46   14          THE DEPONENT:      I think I probably would, but,

12:09:51   15      again, after we split up and after he was out of the

12:09:55   16      house, I was working some place else by then and didn't -

12:10:01   17      didn't pay a lot of attention.

           18      BY MR ROCHE:

12:10:06   19          Q.     Okay.   Besides yourself, Craig and Dave, were

12:10:10   20      there any other individuals involved in W&K, at any point

12:10:13   21      in time?

12:10:15   22          MS MARKOE:      Objection.   She's already said that

12:10:19   23      after a certain point she may not know.

12:10:24   24          MR ROCHE:      Ms Markoe, I have asked you not to use

12:10:26   25      speaking objections.



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            1      BY MR ROCHE:

12:10:29    2          Q.      And you can answer.

12:10:30    3          A.      To the best of my knowledge, there was nobody

12:10:33    4      else that was involved in it.

12:10:38    5          Q.      And if you could look at that, I'm on the

12:10:41    6      second page of that exhibit 6?

12:10:43    7          A.      Yeah.

12:10:44    8          Q.      If you could look at the eighth bullet, it

12:10:47    9      states:

12:10:48   10               Between the start of 2011 and when
12:10:50                    Mr Kleiman died in 2013, Dr Wright had
12:10:53   11               engaged significantly with Mr Kleiman in
12:10:55                    the development of several software
12:10:58   12               products.

12:11:00   13      Is that an accurate statement?

12:11:03   14          A.      I don't know.   He was gone from here, so it -

12:11:09   15      Craig - Craig was --

12:11:10   16          Q.      I'm sorry, can I --

12:11:12   17          A.      Sorry, Craig - I don't know if this is an

12:11:14   18      accurate statement, because Craig was - had left the

12:11:17   19      house.    He had - he moved, like, to a separate place, and

12:11:22   20
           2       we didn't discuss a lot of the business stuff.

12:11:27   21
           2           Q.      Did Craig Wright draft this document,

12:11:32   22
           2       exhibit 6?

12:11:33   23
           2           A.      I don't know.

12:11:38   24          MS MARKOE:      Objection.

           25      BY MR ROCHE:



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12:11:45    1          Q.    And when did you - when did you get ownership

12:11:50    2      in W&K?                                 Relevance

12:11:52    3          MS MARKOE:      Objection.

12:11:55    4          THE DEPONENT:     I guess when - when they - they

12:12:01    5      first started the - the discussions on - on putting the

12:12:07    6      tenders in.    At that point, there was the three of us

12:12:12    7      that were still working g on it.
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                                                                  th      t    on LL.9-16
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                   BY MR ROCHE:                              relevance
                                                                 vance objections
                                                                 v             ns to
                                                             Wright's
                               all testimony concerning Ms. Wrighht's alleged owner-
                                                                 h             wn
12:12:23    9          Q.    Ok
                             Okay.   A d - but
                                     And   b t you don't
                                                    d 't have
                                                         h      y ship interest in
                                                              any               i W&K.

12:12:25   10      documentation, outside the divorce settlement, related to

12:12:27   11      your ownership?

12:12:29   12          A.    That's right.

12:12:32   13          Q.    And just going back to exhibit 3 again --

12:12:38   14          A.    Yes.

12:12:39   15          Q.    -- you signed this affidavit; correct?

12:12:41   16          A.    Yes, I did.     It looks like my signature.

12:12:47   17          THE COURT REPORTER:      Did you mean exhibit 3 or the

           18      current document, which is exhibit 6?

12:12:53   19          MR ROCHE:      Exhibit 6, page 3.

           20          THE COURT REPORTER:      Thank you.

           21      BY MR ROCHE:

12:13:02   22          Q.    And do you still own W&K?          Relevance
                                                                R l

12:13:09   23          A.    I guess I'm - I guess that I still have some

12:13:12   24      interest in it, but I never thought it would amount to

12:13:16   25      anything so I didn't pursue very - you know, anything



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12:13:21    1      about it.

12:13:23    2          Q.      And what's your basis for assuming you still

12:13:26    3      have ownership in W&K?

12:13:28    4          A.      The - nothing has changed, as far as I know,

12:13:35    5      from the divorce settlement.

12:13:38    6          Q.      Did you ever advance money to Craig Wright?

12:13:42    7          A.      Not for W&K.

12:13:46    8          Q.      And in any - in any capacity?

12:13:49    9          A.      Oh, we had --

12:13:51   10          MS MARKOE:      Objection.    Relevance.

           11          THE DEPONENT:     Sorry, what?

           12          MS MARKOE:      Objection.    Relevance.

12:13:58   13          THE DEPONENT:      Look, I - we - we would - not - not

12:14:02   14      huge amounts of money, no.       When I was - when we were

12:14:08   15      working separately and he wanted to set up the company

12:14:10   16      and stuff, and then we - we did a - we had a hobby farm,

12:14:18   17      and we were going to start doing some - what do you call

12:14:24   18      it? - climate, stuff for the - to prevent climate change

12:14:32   19      on the farm, like erosion, land erosion and things like

12:14:36   20      that, I - I bought from Craig the business of --

12:14:48   21      BY MR ROCHE:

12:14:48   22          Q.      The?

12:14:49   23          A.      The business.   The - the - like the equipment

12:14:51   24      and stuff for the farm.     But, again, that went nowhere

12:14:58   25      real quick.



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12:15:00    1             Q.   About how much money was that?

12:15:03    2             A.   Oh, God --

12:15:04    3             MS MARKOE:      Objection.   Relevance.

12:15:06    4             THE DEPONENT:     I - I can't remember, to be honest.

            5      BY MR ROCHE:

12:15:09    6             Q.   Okay.

12:15:09    7             A.   It - like I --

12:15:11    8             Q.   Was there a --

12:15:12    9             A.   It wasn't huge, huge amounts, and it was - it

12:15:15   10      was - yeah.    I mean, I can't - I can't recall what it

12:15:19   11      was.

12:15:28   12             Q.   Do you have any record of those advancements?

12:15:30   13             MS MARKOE:      Objection.   Relevance.

12:15:32   14             THE DEPONENT:     Not that I can - not that I remember

12:15:33   15      having, no.    We never - we never - I - I can't remember

12:15:37   16      if we ever even wrote it down.        I - I - no, I - I'm

12:15:45   17      sorry, I wish I could, but --

12:15:47   18      BY MR ROCHE:

12:15:48   19             Q.   Understood.     And is there - are you aware of a

12:15:52   20      company called Information Defense Pty?

12:15:58   21             A.   Yes, that was - that was the one that was

12:16:03   22      Cloudcroft Proprietary Limited trading as Information

12:16:08   23      Defense.

12:16:09   24             Q.   Okay.   Did there ever come a time when Craig

12:16:12   25      transferred shares of Information Defense Pty to you?



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12:16:16    1          A.      He transferred --

12:16:18    2          MS MARKOE:      Objection.

12:16:19    3          THE DEPONENT:      -- shares at the beginning of it,

12:16:21    4      because - at the start of it, because - at the start of

12:16:27    5      Cloudcroft, because I was the managing director for a

12:16:30    6      short period of time.

12:16:32    7          MR ROCHE:      Okay.   If we could hand the witness,

12:16:35    8      Ms Wright, tab 19?

12:16:44    9          MS MARKOE:      Kyle, can you give me a few minutes,

12:16:47   10      just - it is very difficult, given the late stage in

12:16:52   11      which you gave these to me, for me to pull them up so

12:16:57   12      quickly.    So give me a couple of seconds while she is

12:17:01   13      looking at it.

12:17:01   14          MR ROCHE:      We will mark this exhibit 7.

           15                  (Exhibit 7 marked for identification)

           16      BY MR ROCHE:

12:17:40   17          Q.      And if you see at the top, it states:

12:17:45   18               Over a number of years since 2002 Lynn has
12:17:48                    advanced moneys to Craig to assist Craig to
12:17:50   19               operate and maintain various businesses
12:17:52                    owned and operated by him.
           20

12:17:56   21      Is that reference to the hog farm?

12:18:03   22          A.      The hobby farm?

12:18:03   23          Q.      Yes.

12:18:05   24          A.      Yes.   I would - I would - yeah, plus it may

12:18:08   25      have been other things, too.        But, yeah, I would say -



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12:18:16    1      with the - with that being the date, I'd say that, yeah,

12:18:20    2      that's probably right.

12:18:22    3          Q.      Okay.   And if you look at paragraph D, it says:

12:18:24    4               Craig wishes to secure in favour of Lynn
12:18:28                    all monies owned to Lynn and all assets
12:18:30    5               owned by Lynn which have been excused as
12:18:32                    security for loans made to Craig or Craig's
12:18:34    6               businesses.

12:18:40    7          MS MARKOE:       Paragraph - pardon me, did you say in

12:18:41    8      paragraph C or paragraph D?

12:18:44    9          MR ROCHE:       D.

12:18:49   10          MS MARKOE:       Paragraph C?

12:18:51   11          MR ROCHE:       D.   Yes.

           12          MS MARKOE:      Oh, D.

           13      BY MR ROCHE:

12:18:53   14          Q.      And then, below that, it says

12:18:54   15               Craig shall do all things and sign all
12:18:57                    documents necessary to transfer to Lynn all
12:18:59   16               shares owned by Craig in the companies
12:19:01                    Information Defense ... and Integyrs Pty
           17               Limited.

12:19:07   18      Was that transfer made?

12:19:14   19          A.      I - I - look, I - I don't know.    I - this is

12:19:20   20      just confusing me.

12:19:24   21          Q.      Okay.   So you don't recognize this document?

12:19:30   22          A.      It's vaguely - it feels vaguely familiar,

12:19:42   23      but --

12:19:43   24          Q.      Okay.   If you could go to the last page of the

12:19:47   25      document.



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12:19:48    1          A.      Mmm-hmm.

12:19:49    2          Q.      Page 4 of exhibit 7.

12:19:51    3          A.      Page 4?

12:19:53    4          Q.      Yes.

12:19:55    5          A.      Yeah.

12:19:58    6          Q.      Can you see it says, "Spyder", "Redback" - do

12:20:06    7      you recognize what "Spyder" is?

12:20:08    8          A.      "Spyder" is the hardware/software unit that

12:20:12    9      Craig developed in conjunction with Greyfog, who put the

12:20:19   10      units together, that were basically his sort of version

12:20:24   11      of a - of an upgraded firewall, I guess.

12:20:28   12          Q.      Okay.    And do you - do you see that there is a

12:20:33   13      valuation there?

12:20:35   14          A.      Yeah.

12:20:37   15          Q.      Do you have any understanding of where that

12:20:39   16      valuation originated?

12:20:43   17          A.      No.     I think that it was probably sort of

12:20:55   18      looking - you know, looking at the - the numbers, the

12:20:59   19      units sold times the continued 24/7 monitoring, that sort

12:21:06   20      of thing.    But where that specific number came from --

12:21:11   21          Q.      But did you own - is it your understanding that

12:21:15   22      Craig transferred to you the rights to Spyder?

12:21:18   23          A.      He didn't transfer - he - I think he

12:21:21   24      transferred the IP.       I could use the IP, I think, if I -

12:21:27   25      if - do you have the divorce settlement thing?       Hang on a



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12:21:45    1      second.

            2          Q.      Mmm-hmm.

12:21:45    3          A.      Yeah, I think that's it.    Yeah.    If you'll -

12:21:46    4      under "Intellectual Property", he gave - he gave me the

12:21:51    5      rights for five years to use the IP.      But that - I didn't

12:21:56    6      use it because I very - I shortly - shortly thereafter

12:22:00    7      turned over the company back to him.

12:22:05    8          Q.      Okay.   And why did you turn the company back

12:22:07    9      over to him?

12:22:08   10          A.      Because I was having financial problems.

12:22:10   11          Q.      Okay.   Did he pay you for the company when you

12:22:14   12      turned it back over?

12:22:15   13          A.      No.

12:22:17   14          Q.      Okay.   So why - why did you turn it over

12:22:23   15      without consideration?

12:22:26   16          MS MARKOE:      Objection.    Asked and answered.

12:22:32   17          THE DEPONENT:      Because I was - I was - I had to

12:22:34   18      declare bankruptcy, and in Australia, you can't be a

12:22:39   19      director of a company and be bankrupt.

           20      BY MR ROCHE:

12:22:45   21          Q.      Okay.

12:22:45   22          A.      So everything went back to him.

12:22:48   23          Q.      Can you own any part of a company and be

12:22:51   24      bankrupt?

12:22:53   25          A.      I'm not sure.   Can you?   I guess you can own it



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                     Plaintiffs conditionally withdraw the counters on L.3-18
                     if the Court sustains Pltfs' relevance objections to all
                     testimony
                             y concerning
                                        g Ms. Wright's
                                                 g     alleged
                                                           g   ownership
                                                                       p interest
                                                                              re
12:22:58    1      but you can't be a director - or own part of it but you in  W
                                                                               W&K.

12:23:02    2      can't be a director.    I don't know.

12:23:04    3          Q.     When did you declare bankruptcy?

12:23:09    4          A.     It started - well, it started in 2011 and then

12:23:17    5      went - it was - it finalized by the courts in

12:23:24    6      2012, January of 2012.

12:23:28    7          Q.     And as part of that bankruptcy, did you have to

12:23:32    8      list the assets that you - that you personally owned?

12:23:38    9          A.     Yes.

12:23:39   10          Q.     Okay.   Did you identify W&K as one of those

12:23:41   11      assets?

12:23:42   12          A.     No, because everything had been handed back to

12:23:44   13      Craig.    Basically, I had - what I listed was my - I was

12:23:51   14      working outside of the - outside of - like, outside of

12:23:56   15      the house, with an insurance company, so I listed my

12:24:00   16      salaries and plus stuff that was in the house against the

12:24:04   17      mortgages, and things like the mortgage and stuff like

12:24:07   18      that.

12:24:11   19          Q.     You were managing director at one point of

12:24:14   20      Information Defense Party - Pty; correct?

12:24:19   21          A.     Yes.

12:24:19   22          Q.     And when did you stop becoming director?

12:24:22   23          A.     I handed everything back to Craig, I believe it

12:24:25   24      was in December of - of 2011.    To be quite honest, I was

12:24:32   25      happy to hand everything back to him.     I didn't want to



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12:24:34    1      have anything to do with any --

12:24:37    2          Q.   Who else was employed at the company?

12:24:42    3          MS MARKOE:      Objection.

            4          THE DEPONENT:      We had a - sorry?

            5          MS MARKOE:      Objection.

            6      BY MR ROCHE:

12:24:46    7          Q.   Who else was employed at that company?

12:24:49    8          A.   We had a - a tech - information security

12:24:52    9      technician, or, you know, specialist, I guess, if you

12:24:57   10      will, but he was working as a contractor.

12:25:01   11          Q.   Okay.     And after Information Defense Pty, you

12:25:08   12      went on to work at Cloudcroft; is that correct?

12:25:10   13          A.   No.     Cloudcroft --

12:25:12   14          MS MARKOE:      Objection.   That is not the testimony.

12:25:18   15          THE DEPONENT:      Cloudcroft was the parent company.

12:25:20   16      It was Cloudcroft Proprietary Limited trading as

12:25:25   17      Information Defense.    So it was - they --

12:25:29   18      BY MR ROCHE:

12:25:30   19          Q.   So they were essentially the same company?

12:25:32   20          A.   Yes.

12:25:34   21          Q.   Did Cloudcroft ever receive intellectual

12:25:37   22      property belonging to W&K?

12:25:39   23          A.   No.

12:25:44   24          Q.   What IP did Cloudcroft own?

12:25:47   25          A.   We didn't own any.      We had the right to use -



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12:25:54    1      mostly, the thing that I was trying to, I guess - that

12:25:57    2      I thought had the most promise, was Spyder.      But we

12:26:03    3      never - it went to a couple of clients, but never

12:26:10    4      really - I wanted to try to - to work on it to get it off

12:26:14    5      the ground - sorry, oh - to get it off the ground,        but

12:26:19    6      things fell apart for me.

12:26:21    7          Q.   And who worked for Cloudcroft?

12:26:24    8          A.   Hector --

12:26:26    9          MS MARKOE:      Objection.   Can we get a time frame on

12:26:28   10      some of this stuff?     Because you are asking these very

12:26:31   11      broad questions, and I think that to make the record

12:26:33   12      clear it would be useful to have a time frame in

12:26:38   13      which they're --

12:26:39   14          MR ROCHE:      I'm asking the questions.   If the - we

12:26:44   15      can establish the time frame.     If the witness needs

12:26:47   16      clarification, I will certainly provide clarification.

           17      BY MR ROCHE:

12:26:51   18          Q.   Who - let's start over, Ms Wright.       What

12:26:56   19      employees - when did you work for Cloudcroft?

12:27:03   20          A.   From the date of its - from - from I guess the

12:27:07   21      date of its inception to around - well, till I handed it

12:27:11   22      back to Craig.     Not that it - it wasn't a - it wasn't -

12:27:15   23      there wasn't any big successful company.

12:27:19   24          Q.   Understood.     And during that period of time,

12:27:23   25      did anybody else work at Cloudcroft besides yourself?



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12:27:26    1          A.   We had a contractor that would go out and do

12:27:29    2      work.

12:27:32    3          Q.   What was the contractor's name?

12:27:35    4          A.   Hector.     I'm - it starts - I can't pronounce

12:27:42    5      his last name.     He's a Filipino fellow.    I think it's

12:27:46    6      "Moorabang", or something like that.

12:27:51    7          Q.   Okay.     Did Cloudcroft have any clients?

12:27:53    8          A.   Yeah, we had the Qantas Credit Union.        I'm just

12:28:02    9      trying to - they were on - they were 24/7 monitoring.

12:28:07   10      I'm just trying to think.       We did - Craig I think did

12:28:11   11      some work still at that time with the Australian stock

12:28:16   12      exchange, although we weren't - they - we were no longer

12:28:21   13      in - no longer doing 24 by 7 monitoring.       He basically

12:28:26   14      would go out for - what do you call it? - like if they

12:28:30   15      called and asked for a consultant to come out.

12:28:34   16          Q.   And during the time that you worked at

12:28:37   17      Cloudcroft, what was its yearly revenue?

12:28:42   18          A.   God, not a huge amount, hence why I had to go

12:28:48   19      out and find another job anyway.       I - I - honestly,

12:28:53   20      I don't recall.     Craig --

12:28:54   21          Q.   Okay.

12:28:55   22          A.   You know, Craig did the - the work on that.

12:29:00   23          MR ROCHE:      Okay.   Sati, if we could hand Ms Wright

12:29:04   24      tabs 24 and 25?

12:29:31   25          THE COURT REPORTER:        Separate exhibits, Mr Roche, or



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12:29:32    1      one exhibit?

12:29:33    2          MS MARKOE:     Can we wait a second until I can get

12:29:36    3      these documents?    It's just going to take a couple of

12:29:39    4      seconds.

            5          MR ROCHE:      Yep.   Are we on exhibit 8?

            6          THE COURT REPORTER:       Yes.

12:29:45    7          MR ROCHE:      Okay, so exhibit 8 is the

12:29:46    8      one-page document.    It ends in Bates stamp 75974.

            9                 (Exhibit 8 marked for identification)

12:29:56   10          MR ROCHE:      And exhibit 9 is Bates stamp ending in

12:29:58   11      75975.

           12                 (Exhibit 9 marked for identification)

12:30:08   13          MS MARKOE:      Can you read exhibit 9 again?

           14      BY MR ROCHE:

12:30:15   15          Q.     Ms Wright, do you recognize the - I want to

12:30:18   16      start with exhibit 8.     Do you recognize this email?

12:30:26   17          A.     I have a vague recollection of that,

12:30:28   18      specifically because it didn't open - I couldn't open it

12:30:31   19      up on my computer.

12:30:34   20          Q.     Okay.

12:30:36   21          MR BRENNER:      Can you just read the Bates stamp on

12:30:38   22      this one again, the one you are doing now?

12:30:41   23          MR ROCHE:      Yes.   I read into the record the Bates

12:30:43   24      stamp.   The one we are doing now is ending in 75974.

12:30:48   25          MR BRENNER:      Thank you.



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12:30:50    1      BY MR ROCHE:

12:30:51    2            Q.      And if you - so this is an email from you to

12:30:53    3      Craig?

12:30:55    4            A.      Yeah - looks like it, yeah.

12:30:58    5            Q.      And you write:

12:30:59    6                 I have attached what I have so far and will
12:31:02                      try to get more when I come home tomorrow
12:31:04    7                 after the interview. I know it doesn't
12:31:07                      look like much but I have worked hard on
12:31:09    8                 making it look professional and get as much
12:31:11                      information as possible while keeping it
12:31:13    9                 simple.

12:31:19   10      What were - the date on this email is October 23rd, 2013?

12:31:22   11            A.      Yeah.

12:31:23   12            Q.      Do you know what this document is in relation

12:31:24   13      to?

12:31:24   14            A.      Yeah, actually, I think it's - it sort of

12:31:29   15      clicked something in my mind.        Craig had asked me to do

12:31:35   16      some research into how the ATO, or the Australian Tax

12:31:44   17      Office, how - I guess how bitcoin could be taxed.

12:31:51   18      I think it --

12:31:53   19            Q.      When did Craig - oh, go ahead, sorry.

12:31:56   20            A.      I think the - I think that was the - one of -

12:31:58   21      one of the problems between Craig and the ATO was this

12:32:00   22      bitcoin thing, and I think he asked me - their big issue

12:32:05   23      was, "How can we tax it?" and so I just did - I - I did

12:32:12   24      some research into it, into taxation more than - than -

12:32:22   25      you know, I - he sent - I think he sent me through some



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12:32:26    1      of the stuff about what bitcoin is, and I put it

12:32:35    2      together, and I think - if this is the one, I think - I'm

12:32:45    3      just trying to - I don't remember the article that

12:32:52    4      I wrote being this long, but I think he probably

12:32:59    5      incorporated stuff that I said, I guess, into - into

12:33:07    6      the - into his article.

12:33:11    7          Q.     Okay.    When did Craig ask you to work on this

12:33:15    8      article?

12:33:16    9          A.     Would have been around that time, because he

12:33:18   10      always never gave me a whole lot of - of - a long time

12:33:24   11      frame to get things done.

12:33:28   12          Q.     And what did he tell you about - in relation to

12:33:31   13      his - his interaction with the ATO and bitcoin, at that

12:33:36   14      time?

12:33:38   15          A.     He - he told me very little.        I - I - the big

12:33:43   16      thing that I think was they wanted to know - like, they

12:33:51   17      were dead-set against bitcoin, because it couldn't be

12:33:54   18      taxed.   So that was my - that's the extent of my

12:33:59   19      knowledge of it, that I - you know.

12:34:06   20          Q.     And --

12:34:06   21          A.     Sorry, go ahead?

12:34:07   22          Q.     And what was your reason for agreeing to do

12:34:10   23      this research and write the paper?

12:34:12   24          MS MARKOE:      Objection.    Relevance.

12:34:18   25          THE DEPONENT:      Look, it - probably because Craig



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12:34:22    1      was supporting me and I didn't want to run the risk of

12:34:37    2      him saying, "I will just stop giving you the money".

12:34:41    3      BY MR ROCHE:

12:34:41    4          Q.   Okay.     So besides - strike that.    Did you do

12:34:45    5      other work for Craig after the divorce because you were

12:34:50    6      afraid that he would stop giving you the money?

12:34:53    7          MS MARKOE:      Objection.

12:34:56    8          THE DEPONENT:      No, very little.   Very, very little.

12:34:59    9      We got further and further apart in the - and it had been

12:35:06   10      a long time between the - well, the whole - whenever he

12:35:11   11      went to the UK, I never heard from him until recently.

           12      BY MR ROCHE:

12:35:18   13          Q.   Okay.     And did Craig tell you he had bitcoin at

12:35:20   14      this time?

12:35:23   15          MS MARKOE:      Objection.

12:35:25   16          THE DEPONENT:      Well, he intimated that he had lost

12:35:31   17      a lot of bitcoin when that Japanese company - when that

12:35:34   18      guy in Japan, I think the - the bitcoin - I don't know if

12:35:41   19      it was a bank or what sort of outfit it was, but he,

12:35:47   20      I guess, absconded with all the money, and Craig had kept

12:35:51   21      some of his - had - well, "some of it", I think he kept

12:35:55   22      all of his bitcoin there, and --

12:35:58   23      BY MR ROCHE:

12:35:59   24          Q.   And what's - and this is Mt. Gox?       Is that what

12:36:03   25      you're referring to?



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12:36:03    1          A.     It might be.    That name sounds familiar.

12:36:07    2          Q.     And what's your basis for your understanding

12:36:10    3      that he kept a lot of his bitcoin there?

12:36:12    4          A.     Because he said he lost a fair - lost a fair

12:36:14    5      bit of money.

12:36:15    6          Q.     When did he tell you this?

12:36:17    7          A.     I don't know.     When we talk, I don't look at

12:36:19    8      the date and time.

12:36:21    9          Q.     Okay.   I understand.

12:36:43   10          MS ROCHE:      Okay, if we could hand Ms Wright

12:36:46   11      exhibit - tab 32, which will be marked as exhibit 10.

12:37:02   12                 (Exhibit 10 marked for identification)

12:37:10   13      BY MR ROCHE:

12:37:10   14          Q.     And this is Bates stamp ending in 01210717.

12:37:23   15      Ms Wright, if you look at the top of this email, its

12:37:30   16      subject, "Integyrs Pty Limited"?

12:37:33   17          A.     Yes.

12:37:33   18          Q.      "Liquidation".    Let's start with "Integyrs".

12:37:37   19      What was Integyrs?

12:37:38   20          A.     Integyrs was another company that - that we had

12:37:41   21      started.   He wanted a name that sounded like a number, so

12:37:49   22      that's where "Integyrs" comes from.      And I - I don't have

12:37:56   23      a great deal of knowledge of what was done in that

12:37:58   24      company.

12:38:01   25          Q.     Do you know if Integyrs had revenue?



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12:38:04    1          A.   I - no, I don't.        I - I would have been - I'd

12:38:07    2      be surprised if it did.

12:38:09    3          Q.   Okay.     Do you know if anyone else worked at

12:38:12    4      Integyrs besides Craig?

12:38:13    5          A.   No, I - I think it was just him.

12:38:17    6          Q.   And it says, in the subject, "(In

12:38:22    7      Liquidation)".

12:38:23    8          A.   Yeah.

12:38:23    9          Q.   Why was Integyrs in liquidation?

12:38:26   10          MS MARKOE:      Objection.    Foundation.

12:38:29   11          THE DEPONENT:     I don't - I - you know, look, my

12:38:32   12      first response would be a bit flip, so I'm not going to

12:38:35   13      respond to that, because I don't really know.

           14      BY MR ROCHE:

12:38:40   15          Q.   And what was your first response?

12:38:43   16          MS MARKOE:      Objection.

12:38:44   17          THE DEPONENT:     Probably because it wasn't making

12:38:45   18      any money.

           19      BY MR ROCHE:

12:38:48   20          Q.   Okay.

12:38:49   21          A.   But that's an - that's a personal opinion, so

12:38:52   22      it really doesn't belong in this.

12:38:54   23          Q.   I understand.     And if you look at, "Just" - I'm

12:39:00   24      on the first two sentences, "Just a question."

           25          A.   Yep.



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12:39:03    1          Q.   "Why are you asking me to cop the points?"

12:39:06    2      What are you referring to when you say, "Why are you

12:39:09    3      asking me to cop the points"?

12:39:11    4          A.   He was caught speeding on a - on a speed

12:39:15    5      camera, and he only had - he - it was speeding in a

12:39:20    6      school zone, and he only had one - we have 12 points on

12:39:25    7      our licenses over here.     He only had 1 point left.    And

12:39:30    8      he was coming over here to - from - from Sydney to the

12:39:36    9      house here, to - for - for some meeting.       I think it was,

12:39:42   10      you know, something to do with - with Cloudcroft and -

12:39:50   11      and quite - because Hector was meeting us as well here.

12:39:53   12      So he got done - not that specific date, but he got done

12:39:59   13      earlier, and he wrote me this asking me to say it was

12:40:07   14      my - it was - I was driving the car.

12:40:10   15          Q.   Did you cop the points?

12:40:11   16          A.   Yes, I did.

12:40:14   17          Q.   Okay.

12:40:20   18          MR ROCHE:      If you could - if we could hand

12:40:22   19      Ms Wright tab 53, and this is Bates ending in 01559220.

12:40:56   20      I believe we're on exhibit 11 now.

12:41:01   21          MS NAGRA:      Can I just confirm that that was tab 53?

12:41:06   22          MR ROCHE:      Tab 53, yes.   An email.

12:41:08   23          MS NAGRA:      We do not have that available here.

12:41:10   24      Could you please send that through?

12:41:13   25          MR ROCHE:      Yes.   We will send that over in a



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12:41:17    1      second.

12:41:18    2          MS NAGRA:      Thank you.

12:41:19    3          MR ROCHE:      We'll work on it.

            4      BY MR ROCHE:

12:41:28    5          Q.    Were you ever under investigation by the

12:41:30    6      Australian tax authorities?

            7          A.    Me --

12:41:33    8          MS MARKOE:      Objection.   Relevance.

            9          THE DEPONENT:     Sorry?

           10          MS MARKOE:      Objection.

           11      BY MR ROCHE:

12:41:36   12          Q.    Were you ever investigated by the Australian

12:41:38   13      tax authorities?

12:41:40   14          A.    I think once, I think, as - as sort of an

12:41:44   15      extension of Craig, but the - with the farm stuff, they

12:41:50   16      disallowed a lot of the transfer of - of - we - like

12:41:59   17      the - the - they disallowed the - I don't know if it's

12:42:06   18      interest or whatever on the transfer of the equipment

12:42:09   19      from - from Craig to me.    So then for - obviously I had

12:42:17   20      to - I was - I was unable to - we were unable to complete

12:42:23   21      the --

12:42:27   22          Q.    Transaction?

12:42:27   23          A.    The transaction, yeah.

12:42:30   24          Q.    Were you interviewed by somebody from the ATO?

12:42:33   25          A.    No.    No, it was all - I - we may have - I may



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12:42:38    1      have had a phone call, but it was usually if - I'm just

12:42:44    2      trying to think back.    It was usually about specific -

12:42:50    3      something that I had - some information that I had sent

12:42:52    4      them.    But a formal interview, no.

12:42:59    5          Q.     Okay.   And are you aware that Craig Wright was

12:43:01    6      investigated by the ATO?

12:43:04    7          A.     Yes.

12:43:05    8          Q.     What is your knowledge of that investigation?

12:43:08    9          MS MARKOE:      Objection.

12:43:12   10          THE DEPONENT:     Look, it - it had to do, as far as

12:43:23   11      I am aware, with some research and development that they

12:43:26   12      were - that they - not the ATO, but the company that -

12:43:32   13      that did - gave research and development grants did give

12:43:38   14      us - give us a grant, or gave Craig a grant.      There was

12:43:45   15      also at that time - oh, God, there's - it was - it was

12:43:50   16      all to do with - with - as far as I knew, it was all to

12:43:58   17      do with the - the grant and transfer - the transfer of

12:44:05   18      businesses, or this - of - that happened had nothing to

12:44:10   19      do with bitcoin.    I didn't really understand or know too

12:44:18   20      much about bitcoin, and I just - I didn't even - you

12:44:23   21      know, like, until Craig asked me to do that article, and

12:44:28   22      it was just - it was so cursory, it was just, you know,

12:44:32   23      "Figure out how the ATO could benefit from this, and how

12:44:37   24      can they - how can they tax bitcoin?"."      But I didn't

12:44:42   25      know the - the meat about everything.



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            1      BY MR ROCHE:

12:44:48    2          Q.   Okay.     Do you know how much the grant was?

12:44:56    3          A.   Oh, no, I could - I could say a number, but I'm

12:44:59    4      not sure it's accurate.

12:45:02    5          Q.   Is it more than $100,000?

12:45:04    6          A.   Yes, I - I believe so.

12:45:06    7          Q.   More than a million dollars?

12:45:08    8          A.   Oh, God, no.

12:45:10    9          Q.   Okay.     More than $500,000?

12:45:12   10          A.   No, it was --

12:45:13   11          MS MARKOE:      Objection.

12:45:14   12          THE DEPONENT:     It was less than that.     It - I think

12:45:16   13      it was between a hundred thousand and 200,000.       I'm not -

12:45:21   14      I think around there.    But I never saw the - I never saw

12:45:24   15      the checks, so --

12:45:27   16      BY MR ROCHE:

12:45:28   17          Q.   And did the grant have to do with

12:45:30   18      bitcoin-related intellectual property?

12:45:32   19          A.   To the best of my knowledge, no.

12:45:34   20          MS MARKOE:      Objection.

           21      BY MR ROCHE:

12:45:36   22          Q.   So how did bitcoin become involved with the ATO

12:45:39   23      investigation?

12:45:39   24          A.   I don't know.

12:45:41   25          MS MARKOE:      Objection.



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12:45:42    1             THE DEPONENT:   I don't know.    It may have been

12:45:47    2      through Craig, you know, doing his - just trying to - to

12:45:58    3      develop it.    I don't know how it got involved with them.

            4      BY MR ROCHE:

12:46:05    5             Q.   Did you ever produce documents to the ATO?

12:46:07    6             A.   No, not that I recall.

12:46:12    7             MR ROCHE:    Sati, do you have tab 53 on your

12:46:17    8      computer that we can show Ms Wright?

12:46:19    9             MS NAGRA:    We have a copy available, yes.

           10             MR ROCHE:    Oh, you printed - you got a copy printed

           11      off?

12:46:26   12             THE DEPONENT:    Yes, she was smart.     She brought her

12:46:27   13      own printer.

12:46:30   14             MR ROCHE:    She's very smart.   Okay.     And this is -

           15      are we on exhibit 12?

           16             THE COURT REPORTER:    This will be exhibit 11.

12:46:44   17                  (Exhibit 11 marked for identification)

           18      BY MR ROCHE:

12:46:47   19             Q.   Ms Wright, you have exhibit 11 in front of you.

12:46:50   20      The Bates stamp is 01559220.       Do you recognize this

12:46:56   21      document?

12:47:02   22             A.   Yeah.   I don't know what - I don't know what

12:47:06   23      the "At least as bitcoin" meant.

12:47:10   24             Q.   Okay.   Who is - it says "Eris" - "I had to

12:47:16   25      delay Eris' dental surgery".       Who is Eris?



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12:47:19    1          A.      Oh, Eris is - Eris is my cat.   She's - I was

12:47:23    2      going to apologize, because she was roaming around here

12:47:26    3      crying before.      So --

12:47:28    4          Q.      The last time I did one of these depositions

12:47:30    5      I had a cat jump up on the table, and --

12:47:34    6          A.      Mine know they are not allowed on the table, so

12:47:36    7      they only do it when I'm not here.

12:47:39    8          Q.      And so this document is dated February 4th,

12:47:44    9      2014?

12:47:45   10          A.      Yes.

12:47:45   11          Q.      Do you see that?

12:47:46   12          A.      Yes.

12:47:47   13          Q.      And it states:

12:47:49   14               Just checking that things will be ok for
12:47:51                    the money going into my account on the
12:47:53   15               15th ...

12:47:54   16          A.      Yes.

12:47:55   17          Q.      Does Craig pay you every month on the 15th?

12:47:58   18          A.      Yes.

12:48:00   19          Q.      Has he ever missed a payment?

12:48:02   20          A.      He's - he's not missed it, he's - it's been

12:48:07   21      delayed, sometimes for up to about - well, a couple of

12:48:11   22      times for up to about three months, in which case, you

12:48:16   23      know, I had to apply for assistance, and then I went out

12:48:20   24      and found work.

12:48:23   25          Q.      Okay.   And he writes you back, "At least as



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12:48:27    1      bitcoin"?

12:48:28    2          A.      I don't know what - I don't know what that is.

12:48:31    3      I never got any bitcoin from him.       I never wanted any

12:48:34    4      bitcoin from him, mainly because I didn't trust it.

12:48:40    5          Q.      Understood.    So he didn't pay you in bitcoin?

12:48:43    6          A.      Oh, God, no.     I - even if he offered it to me,

12:48:47    7      I would not take it, because, as I - as I said, I don't

12:48:52    8      trust - I don't trust computers.       I'm old-school.

12:48:59    9          Q.      And do you understand that he had - strike

12:49:07   10      that.    How much bitcoin did you understand Craig had at

12:49:09   11      this point in time?

12:49:11   12          A.      I had no idea.    I still have no idea.

           13          THE COURT REPORTER:        Was that an objection,

           14      Ms Markoe?

           15          MS MARKOE:     Yes.    He's asked this question several

           16      times and she has answered it several times, so --

12:49:27   17          MR ROCHE:    If we can hand Ms Wright tab 39?        This

12:49:50   18      is - we're on exhibit 12 now.       This is Bates stamp ending

12:49:54   19      in 698432.

12:49:58   20                  (Exhibit 12 marked for identification)

           21      BY MR ROCHE:

12:50:01   22          Q.      Ms Wright, do you recognize this email?

12:50:05   23          A.      Hang on a second, I'm just reading it.

12:50:08   24          Q.      Take your time.

12:50:33   25          A.      Okay, yeah, vaguely recall it, yes.



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12:50:36    1          Q.   Okay.     What is a BAS statement?

12:50:38    2          A.   A BAS statement is a business - how do

12:50:43    3      I describe it?     It's - over here, you can have a business

12:50:48    4      number and not be incorporated.    So a BAS statement is -

12:50:54    5      is done either monthly or quarterly, and it's to pay - to

12:50:59    6      pay tax on the money that you've - the company has

12:51:02    7      earned, or the business has earned.

12:51:08    8          Q.   Okay.     And what are you referring to when you

12:51:10    9      say, "they are disallowing my claim and fining me 50% of

12:51:14   10      the claim"?

12:51:16   11          A.   Probably the - that had to do with the farm

12:51:19   12      equipment and business, the one that I was telling --

12:51:27   13          Q.   There was a slight disconnection there.        Can

12:51:29   14      you repeat your answer?

12:51:30   15          A.   Oh, yeah.     That had to do with the - with the

12:51:33   16      farm, the business that I spoke about earlier.

12:51:38   17          Q.   Understood.

12:51:39   18          A.   And they disallowed it anyway, but I wasn't

12:51:41   19      fined.

12:51:42   20          Q.   Do you know who John Chesher is?

12:51:46   21          A.   Yes, John was a - he did the finances.       He was

12:51:53   22      an accountant for the company.    He worked with Craig most

12:51:58   23      of the time.     He went through all the documents and

12:52:03   24      everything and - with Craig and the ATO.

12:52:13   25          Q.   Did you coordinate at all with Mr Chesher with



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12:52:16    1      respect to the ATO investigation?

12:52:19    2          MS MARKOE:      Objection.     Which investigation?   And

12:52:24    3      foundation.

            4      BY MR ROCHE:

12:52:27    5          Q.     You can answer.

12:52:27    6          A.     He - he would come - he came here once because

12:52:30    7      there was going to be a conference call.         He wanted me to

12:52:33    8      sit in on it because Craig would lose his temper quite

12:52:42    9      frequently with the ATO, and so I would try to, I don't

12:52:52   10      know, mitigate things, I guess.       But, look, you know,

12:52:56   11      I hate to say it, but a lot of the stuff that went on

12:52:59   12      I didn't have - like I didn't have a big understanding of

12:53:02   13      it, so - but I think John - I knew John.         I mean, we

12:53:10   14      had - he was also involved in some of the meetings with

12:53:13   15      Greyfog.   But --

12:53:19   16          Q.     Did you sign any documents related to the ATO?

12:53:24   17          A.     I don't know.     I can't remember.    They were

12:53:28   18      focusing - they were focusing on Craig, mostly because

12:53:35   19      the - in my opinion, mostly because the guy that was

12:53:40   20      working at the ATO hated Craig.       They didn't get along,

12:53:45   21      so he would - you know what tax people are like, if they

12:53:49   22      don't like you, they will pick on everything.

12:53:53   23          Q.     Don't want to make an enemy of the taxman.

12:53:55   24          A.     No, this is true.

12:53:58   25          Q.     And when you sign documents, do you sign them



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12:54:02    1      in pen?

12:54:04    2          A.      Yes.   Ballpoint pen, yes.   Never pencil, that

12:54:09    3      I can recall.      If I - if I'm going to be signing a

12:54:14    4      document, I'm smart enough to know that it doesn't go in

12:54:16    5      in pencil, I think.

12:54:28    6          MS MARKOE:       Kyle, can we take a break in a couple

12:54:31    7      minutes to use the restrooms?

12:54:33    8          MR ROCHE:       That's actually good.   I was just about

12:54:36    9      to suggest the same.     Can we take a - it is 54 minutes

12:54:38   10      past the hour.     Let's take a five-minute break and we

12:54:42   11      will come back on the hour.

12:54:44   12          THE VIDEOGRAPHER:       Going off the record at 12.54.

12:54:46   13      End of tape 3.

           14      (21.54pm)

13:00:52   15          (A short break)

           16      (1.07pm)

13:05:39   17          THE VIDEOGRAPHER:       Going back on the record at

13:08:06   18      1.07pm.     Commencement of tape 4.   Proceed.

13:08:11   19          MS MARKOE:       Kyle, just a point for the record.    The

13:08:14   20      way that the documents were sent to us and printed, they

13:08:18   21      don't have any confidentiality stamps on them.       So to the

13:08:21   22      extent that you are going to be showing or intend to show

13:08:25   23      Ms Wright any document that she is not specifically on,

13:08:30   24      we're going to need time to check the confidentiality

13:08:32   25      stamp and determine if that's an appropriate document for



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13:08:34    1      her to look at under the confidentiality order.

13:08:39    2            MR ROCHE:    I don't - I don't intend to use any such

13:08:42    3      document.

13:08:44    4            MS MARKOE:      Okay.   That's good.   I just wanted to

13:08:50    5      make sure that - I'll just need some time, if you do, to

13:08:54    6      check it out.

13:08:55    7            MR ROCHE:    I will let you know if I'm going to use

13:08:57    8      any such document.

13:08:59    9            MS MARKOE:      Fantastic.    Thank you.

13:09:01   10            MR ROCHE:    No problem.

           11      BY MR ROCHE:

13:09:07   12            Q.    Ms Wright, was there ever a formal settlement

13:09:09   13      agreement between you and Craig?

13:09:11   14            A.    Other than the one that you've already shown

13:09:15   15      me, there is - there's just been a verbal agreement for

13:09:25   16      the - the monthly payments.

13:09:28   17            Q.    And when was that verbal agreement made?

13:09:35   18            A.    It was made probably about - I'm just trying to

13:09:39   19      think.     Probably about five years ago.        And it was - it

13:09:48   20      was never put through the courts or put an addendum onto

13:09:55   21      the - the written agreement.

13:09:59   22            Q.    What was the - how did that agreement come to

13:10:06   23      be?

13:10:08   24            MS MARKOE:      Objection.    Relevance.

13:10:11   25            THE DEPONENT:     Well, I - I'm older than Craig by



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13:10:16    1      about 18 years, and I think he was concerned that - and

13:10:25    2      I was concerned, too, about my future, you know, like,

13:10:32    3      financially and - and everything like that.      So that's

13:10:36    4      why he - he came to that - that's why --

13:10:43    5      BY MR ROCHE:

13:10:44    6          Q.      And --

13:10:45    7          A.      Yeah, go ahead.

13:10:46    8           Q
                        Q.       y
                             Did you reach out to him or did he reach out to
                        Plaintiffs conditionally withdraw the counters on
13:10:48    9      you? 126:11-127:9 if the Court sustains Pltfs' relevance
                        objections to all testimony concerning Ms. Wright's
13:10:48   10           A.                           .alleged
                             No, he reached out to me.alleged ownership interest
                                                                              s
                                                      in W&K.
13:10:50   11           Q.   Okay. And if we could - I believe exhibit 3 is

13:10:58   12      the settlement agreement?

13:11:09   13          A.      Yes.

13:11:12   14          Q.      Hold on, I'm just getting it up myself.     Did

13:11:23   15      you have the original of this document in your

13:11:26   16      possession?

13:11:27   17          A.      No, I have a copy.

13:11:30   18          Q.      You have a copy.    Do you know who has the

13:11:33   19      original?

13:11:35   20          A.      I don't know if it's Michael Shehadie or if

13:11:38   21      it's Craig.

13:11:41   22          Q.      Okay.    And if you see at the top, it says

13:11:43   23      "Appendix"?

13:11:44   24          A.      Yes.

13:11:45   25          Q.      What is this an appendix to?



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                 Plaintiffs conditionally withdraw the counters on 126:11-127:9
                                                                              9 if the
                 Court sustains Pltfs' relevance objections to all testimony
                 concerningg Ms. Wright's
                                    g     alleged
                                              g   ownership
                                                          p interest in W&K.
13:11:49    1           A.    I couldn't tell you. I don't know. This is

13:11:54    2      all I have, these two pieces.

13:12:01    3          Q.      You have a copy of it; correct?

13:12:03    4          A.      Yes.

13:12:03    5          Q.      And when did you get the copy of it?

13:12:07    6          A.      It was sent to me by Craig's solicitor a week

13:12:14    7      or so ago.    Because I - I guess I said I didn't have

13:12:21    8      any - I didn't have a copy of it.        I just had my divorce

13:12:25    9      decree.

13:12:27   10          Q.      Okay.   And if you can go to the second page of

13:12:36   11      this document?

13:12:37   12          A.      Yes.

13:12:42   13          Q.      Is that your signature?

13:12:45   14          A.      Yes.

13:12:49   15          Q.      And is that - did you sign that signature

13:12:51   16      yourself?

13:12:52   17          A.      Yes.    It looks like it, yep.

13:12:55   18          Q.      And did you sign that in pen?

13:12:58   19          A.      Yeah.

13:12:59   20          Q.      Okay.   Who reached out to you a week ago?

13:13:07   21          A.      I - I'm not sure.      I can't - I think - I think

13:13:09   22      it - I may have spoken to Amanda.        I guess it was during

13:13:16   23      the time of - of trying to arrange this, this deposition,

13:13:25   24      and something - I think somebody asked me if I had the -

13:13:29   25      my
                    y divorce decree,
                                    , and I - I said I had the copy
                                                                 py - I had
                 Plaintiffs conditionally withdraw the counters on 127:20-129:9
                                                                             : if
                 the Court sustains Pltfs' relevance objections to all testimony
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                 Plaintiffs conditionally withdraw the counters on 127:20-129:9
                                                                              9 if
                 the Court sustains Pltfs' relevance objections to all testimony
                                                                             on
                                                                              n
                 concerning
                          g Ms. Wright's
                                   g     alleged
                                             g   ownership
                                                         p interest in W&K.
13:13:39    1      a divorce decree, but I didn't have the settlement, or

13:13:42    2      that I - I couldn't find a settlement, anyway.       So

13:13:47    3      I think that's when they sent that through to me.

13:13:49    4          Q.      Okay.   And do you have a copy of that email

13:13:53    5      from - with the document attached?

13:13:57    6          A.      Yeah.

13:13:59    7          Q.      Okay.   And that was Amanda who sent you the

13:14:04    8      email?

13:14:05    9          A.      I - I'm not sure who it was.   It might -

13:14:07   10      I think it was Amanda, but it could have been Zaharah.

13:14:14   11      Somebody from that office.

13:14:16   12          Q.      Understood.   And if we could go to the first

13:14:20   13      page of the document?

13:14:21   14          A.      Yeah.

13:14:25   15          Q.      Okay.   So as I understand it, the column on the

13:14:29   16      left is your property; correct?     And the column on the

13:14:33   17      right is Craig's property?

13:14:35   18          A.      Yes.

13:14:36   19          Q.      Okay.   And if we can go down, then, to W&K

13:14:42   20      Information Defense?

13:14:43   21          A.      Yes.

13:14:45   22          Q.      Okay.   And it says,

13:14:48   23               Existing shares to be split and divided -
13:14:50                    50% to go to Lynn Wright.
13:14:53   24

13:14:53   25      And on the left, that's the 50 per cent of shares you



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                                                                              : if
                 the Court sustains Pltfs' relevance objections to all testimony
                                                                              on
                 concerningg Ms. Wright's
                                    g     alleged
                                              g   ownership
                                                          p interest in W&K.
13:14:56    1       received from Craig Wright?

13:14:59    2          A.     Yeah, I guess so.

13:15:02    3          Q.     Okay.   And so you didn't have any shares until

13:15:06    4      Craig gave you the shares as part of the divorce?

13:15:13    5          A.     I don't - no, I - I don't know.    I guess -

13:15:17    6      I guess he was making it more explicit in here, but, like

13:15:23    7      I said, I didn't pay too much attention, because not a

13:15:28    8      lot - in my - in my understanding, not a lot came from

13:15:32    9      the company.

13:15:35   10          Q.     Okay.

13:15:35   11          A.     Or came --

13:15:37   12          Q.     But there was no - I'm sorry, go ahead?

13:15:39   13          A.     Or came from the association, I should say, you

13:15:41   14      know, because - because of Dave's illness.

13:15:46   15          Q.     Understood.    And - but this document, the

13:15:53   16      divorce settlement between you and Craig, doesn't

13:15:56   17      identify any shares that you had prior to the divorce;

13:15:58   18      correct?

13:15:58   19          A.     No, that's correct.    No.

13:16:16   20          Q.     And so you first got the shares as part of the

13:16:19   21      divorce - the formalized divorce?

13:16:23   22          MS MARKOE:      Objection.

13:16:26   23          THE DEPONENT:       I don't know - no, I think - I think

13:16:30   24      that I - I got a portion of the company when it was set

13:16:38   25      up, but this sort of puts it in writing, type thing.



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            1      BY MR ROCHE:

13:16:46    2          Q.      Understood.   And do you always - when did you

13:16:53    3      get your MBA?

13:16:54    4          A.     I finished the MBA in 2005 - 2004, I think,

13:17:00    5      2005 - around there.

13:17:02    6          Q.      Where did you get your MBA from?

13:17:05    7          A.      University of New England.

13:17:08    8          Q.      Is that in Australia?

13:17:10    9          A.      That's - yes, it's in - it's not the American

13:17:11   10      one; it's the Australian one.       Although the American one

13:17:15   11      sounds a whole lot more prestigious, doesn't it?

13:17:18   12          Q.      I don't know.    Australia - I know there is a

13:17:22   13      lot of good schools in Australia.       And do you always sign

13:17:27   14      your name with the MBA?

13:17:29   15          A.      I used to.    I don't anymore, because it's a

13:17:33   16      little bit stupid now.

13:17:46   17          Q.      Okay.   And if you go to the bottom of this

13:18:05   18      document - sorry, I'm just reading it, there is a lot of

13:18:08   19      text.    The very last box?

13:18:10   20          A.      Yeah.

13:18:11   21          Q.      It says:

13:18:13   22               A formal property settlement may be drafted
13:18:15                    to formalise these [agreements] but may not
13:18:17   23               materially alter this agreement.

13:18:21   24      Was a formal property settlement ever drafted?

13:18:24   25          A.    Not to my
                                     y knowledge,
                                              g , no.
                Plaintiffs conditionally withdraw the counters on L.17-25 if
                the Court sustains Pltfs' relevance objections to all testimony
                                                                             ny
                concerning
                       i   M
                           Ms.  W i ht' alleged
                                Wright's  ll   d ownership
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13:18:42    1          Q.      Sorry, I'm just - there is a lot of documents

13:18:45    2      I've got on my end and - yeah.

13:18:50    3          MR ROCHE:       Sati, if you could please introduce

13:18:57    4      tab 35, and I believe this - are we on exhibit 13 or 14.

13:19:11    5          THE COURT REPORTER:        Thirteen.

            6                  (Exhibit 13 marked for identification)

13:19:15    7          MR BRENNER:      Kyle, which tab was that?

13:19:18    8          MR ROCHE:       Tab 35.

13:19:21    9          MR BRENNER:      Thank you.

13:19:28   10          MR ROCHE:       And this is Bates starting in - excuse

13:19:33   11      me, ending 01212940.

           12      BY MR ROCHE:

13:19:46   13          Q.      Do you recognize this document?

13:19:50   14          A.      Yes, it's - yeah, that was - that was when he

13:20:04   15      was turning over, sort of, Information Defense, so that

13:20:13   16      it will be - come under - it would come under Cloudcroft.

13:20:18   17      I think, you know, this would - this is mostly - looks

13:20:21   18      like it comes from a textbook.

13:20:25   19          Q.      The agreement comes from a textbook?

13:20:27   20          A.      No, it looks like it comes - a lot of it comes

13:20:30   21      from our - our - some of our textbooks and stuff over

13:20:37   22      here.

13:20:38   23          Q.      Okay.   And if we go to the second page of the

13:20:41   24      document?

13:20:43   25          A.      Yeah.



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13:20:45    1          Q.      It says:

13:20:46    2               The parties have entered into an agreement
13:20:48                    for THE PURCHASER to purchase the business
13:20:50    3               of THE SELLER and not to obtain shares in
13:20:52                    the Company. This includes the IP and an
13:20:55    4               agreement to maintain the existing client
13:20:58                    services.
            5

13:21:00    6      So let's focus on it.      So what's the IP that this

13:21:04    7      agreement refers to?

13:21:05    8          A.      Probably for Spyder and - and for the other -

13:21:11    9      the other - the security IP and stuff that Craig

13:21:19   10      developed, that came under Information Defense.       And he -

13:21:28   11      he - as - as you saw from the divorce, the settlement, it

13:21:37   12      was on loan, basically.     The IP was on loan to Cloudcroft

13:21:43   13      for five years.     But as far as - the only - the only IP

13:21:50   14      that - that came over, that I was aware of --

13:21:57   15          Q.      Okay, and --

13:21:59   16          A.      -- was --

13:22:00   17          Q.      I'm sorry, go ahead.

13:22:01   18          A.      Is, like, the Spyder, "Security and risk" - he

13:22:11   19      puts his university studies as IP, but --

13:22:15   20          Q.      Okay.   And if we could go back to exhibit 3,

13:22:18   21      which is the settlement --

13:22:19   22          A.      Yes.

13:22:21   23          Q.      -- and under the very - the first big box says:

13:22:26   24               Craig Wright to provide services ... to
13:22:28                    Cloudcroft for 2 years.
           25
13:22:31                    ALL IP to remain with Craig Wright.


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            1
13:22:34           Does that relate to this agreement?
13:22:38    2          MS MARKOE: Kyle, you have missed a couple of words

13:22:40    3      there, but the document will speak for itself.

13:22:42    4          THE DEPONENT:       So I answer?

            5      BY MR ROCHE:

13:22:44    6          Q.      You can answer.

13:22:46    7          A.      Yes.    Yeah, it would - because this was the -

13:22:50    8      yes, it would pertain to this agreement, because it was

13:22:54    9      when Information Defense was coming under Cloudcroft

13:22:57   10      umbrella.

13:22:59   11          MR ROCHE:       Understood.     Okay.    I don't have many

13:23:04   12      more questions, but let's take a quick break and let me

13:23:07   13      just check my notes and we'll come back and I think we'll

13:23:11   14      be pretty close to wrapping up.

13:23:13   15          THE DEPONENT:       Okay.

13:23:15   16          THE VIDEOGRAPHER:       Going off the record at 1.23pm.

13:23:24   17          MR ROCHE:       And - it's 9.23.        Let's come back at 30

13:23:26   18      minutes after the hour.

13:23:28   19          MS MARKOE:       Sounds good.

13:23:31   20          THE VIDEOGRAPHER:       Tape stopped.

           21      (1.23pm)

13:32:09   22                  (A short break)

           23      (1.32pm)

13:32:36   24          THE VIDEOGRAPHER:       Going back on the record at

13:32:38   25      1.32.    Proceed.



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13:32:42    1          MR ROCHE:       Sati, do you have tab 54 printed up?

13:32:53    2          MS NAGRA:       I do indeed.    I'm just retrieving it.

            3          MR ROCHE:       If you can hand - yes.

            4      BY MR ROCHE:

13:32:57    5          Q.      Okay.   You have been handed what has been

13:32:58    6      marked as Bates ending in 01559250.       Do you see the first

13:33:09    7      page, it says:

13:33:10    8               Dear Mr Westwood;
13:33:12                    Please be advised that I, Lynn Wright, have
13:33:16    9               taken over the business of Information
13:33:17                    Defense. I acquired the business of the
13:33:19   10               company as part of a separation agreement
13:33:20                    with Dr ... Wright.
13:33:22   11               Sincerely,
13:33:23                    Lynn Wright.
           12

13:33:24   13      Do you recognize this document?

13:33:26   14          A.      Yes.

13:33:31   15          Q.      Okay.   And at the time this document was sent,

13:33:33   16      was your separation agreement with Craig Wright complete?

13:33:39   17          A.      It was on its - I guess it was on its way to

13:33:42   18      being - I didn't know what we were - what the separation

13:33:45   19      agreement was going to be.        He - we discussed Information

13:33:55   20      Defense, because he - he was going to hand that over to

13:33:57   21      me to try to give me some sort of an income stream.

13:34:03   22          Q.      Okay.

13:34:03   23          A.      But - but it didn't eventuate that way.

13:34:08   24          Q.      Was the agreement that - exhibit 3, was that

13:34:15   25      completed at the time this was sent to Mr Westwood?



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13:34:21    1             A.   Well, the date on this, on the - what do you

13:34:28    2      call it? - the agreement, is "June 2011", so this -

13:34:36    3      that - and this says "March 2011".      So it was in the

13:34:40    4      process of becoming complete, I guess.

13:34:43    5             Q.   Okay.   So was there any separation agreement

13:34:47    6      before March 2011?

13:34:50    7             A.   Nothing on paper.

13:34:54    8             Q.   Understood.   And I just - I wanted to talk

13:35:00    9      briefly about your communications with Dave Kleiman?

13:35:04   10             A.   Yes.

13:35:05   11             Q.   Did you communicate with Dave Kleiman over the

13:35:08   12      phone about W&K?

13:35:10   13             A.   No.

13:35:13   14             Q.   Did you communicate with him via email?

13:35:16   15             A.   No, not about W&K, no.

13:35:19   16             Q.   Okay.   Did you communicate with --

13:35:22   17             A.   I - hang on a second.    I'm just thinking.    It

13:35:24   18      didn't - it - I think I emailed him a couple of times

13:35:29   19      asking if he had gotten a response to the tenders that

13:35:34   20      were put in, but it didn't - I never heard back from him.

13:35:42   21      And it - it - I think it was just, "Hey, Dave, how are

13:35:46   22      you?    Have you heard anything?"

13:35:49   23             Q.   Understood.   Outside of that communication, was

13:35:51   24      there any other communications between you and Dave

13:35:54   25      related to W&K?



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13:35:55    1             A.   No.

13:36:05    2             Q.   Ms Wright, are you available at all, the rest

13:36:11    3      of the week, if the court orders another deposition?

13:36:15    4             A.   No.     I --

13:36:18    5             Q.   Okay.    Just so we can inform the court, maybe,

13:36:20    6      what are your conflicts for the rest of the week?

13:36:24    7             A.   I have medical issues that I'm going to be in -

13:36:28    8      I had - I had a positive mammogram, so I have to be in

13:36:33    9      for further tests and to see where we're going to go.

13:36:40   10             Q.   Okay.    And just so I know for scheduling

13:36:44   11      purposes, when - and I'm sorry to hear that - when - you

13:36:50   12      know, when are those anticipated to be complete?

13:36:53   13             A.   Well, it depends on what they need to do.

13:36:58   14             MS MARKOE:     Kyle, that's personal medical history,

13:37:00   15      and she has told that you she doesn't have availability.

13:37:03   16      What I'd like to understand also is why you think you are

13:37:07   17      entitled to another deposition under any circumstance,

13:37:11   18      when you have had an opportunity to ask her questions

13:37:14   19      now.

13:37:17   20             MR ROCHE:     I am not --

           21      BY MR ROCHE:

13:37:18   22             Q.   You can answer the question.

13:37:23   23             A.   I don't know.    I don't know.   It - as I said,

13:37:26   24      it depends on what they have planned and if I have to

13:37:30   25      have surgery or if I have to start chemo or anything like



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13:37:33    1      that.

13:37:36    2          Q.      Understood.     Were you - did you have any

13:37:37    3      medical appointments last week?

13:37:41    4          MS MARKOE:      Kyle, enough.    I mean, really?

13:37:42    5      BY MR ROCHE:

13:37:45    6          Q.      Ms Wright, you can answer the question.

13:37:47    7          MS MARKOE:      Why wouldn't you just ask her this

13:37:49    8      question --

            9      BY MR ROCHE:

           10          Q.      Ms Wright --

13:37:49   11          MS MARKOE:      -- did she give any other date prior to

           12      today's --

           13      BY MR ROCHE:

           14          Q.      Ms Wright --

13:37:53   15          MS MARKOE:      -- prior to this deposition.       That's

13:37:54   16      really what your question is, and she can answer that

13:37:56   17      question.    We all know the answer to that question.

           18      BY MR ROCHE:

13:38:01   19          Q.      Okay.   Were you available at all last week for

13:38:03   20      a deposition?

13:38:05   21          A.      I'm just trying to think what went on last

13:38:08   22      week.    I think for two days I wasn't.

13:38:17   23          MR ROCHE:       Okay.   Understood.   No further

           24      questions.

           25          THE COURT REPORTER:        Mr Roche, you didn't mark that



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            1      last document.      Is that to be exhibit 14?

            2          MR ROCHE:       That would be exhibit 14, yeah.   So,

13:38:34    3      yeah.    Let's just clean up the record.    Exhibit 14 is

13:38:36    4      Bates DEFAUS_01559250.

            5                 (Exhibit 14 marked for identification)

13:38:46    6          THE VIDEOGRAPHER:       This is the videographer.    Do we

13:38:48    7      have any other questions?

13:38:50    8          MS MARKOE:       I have a few very short follow-up

13:38:51    9      questions for you, and I promise I will be very, very

13:38:54   10      quick.

13:38:55   11          THE DEPONENT:       Okay.

           12      EXAMINATION BY MS MARKOE:

13:38:57   13          Q.     I think with some of the names of the

13:38:59   14      companies, it gets a little confusing.     So we've talked

13:39:02   15      about two very similarly named companies - at least two

13:39:07   16      very similarly named companies - and the two that I want

13:39:10   17      to talk to you about right now are W&K Information

13:39:17   18      Defense - W&K Information Defense, LLC, and then there is

13:39:23   19      another company which is Information Defense Proprietary

13:39:32   20      Limited?

13:39:32   21          A.     Yes.

13:39:33   22          Q.     I understand - where was Information Defense

13:39:39   23      Proprietary Limited set up?

13:39:43   24          A.     When or where?

13:39:45   25          Q.     Where?



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13:39:47    1          A.   It was set up here, and was - it was - it ran

13:39:57    2      sort of as a separate entity, and then it came under the

13:40:05    3      auspices, if you will, of Cloudcroft when it switched

13:40:11    4      over to me.

13:40:15    5          Q.   And W&K Information Defense, LLC, by contrast -

13:40:18    6      where was that set up?    In what country was that set up?

13:40:22    7          A.   As far as I know, it was set up here as well.

13:40:27    8          Q.   Are you aware - well, you testified that one of

13:40:32    9      the reasons for W&K - and let's just call it "W&K" to

13:40:39   10      avoid confusion --

13:40:40   11          A.   Yeah.

13:40:41   12          Q.   -- was so that you would have a US presence for

13:40:43   13      the tenders that you were submitting to the Department of

13:40:47   14      Homeland Security?

13:40:47   15          A.   Yeah.     Oh I see --

13:40:51   16          Q.   I think that's what your testimony was?

13:40:52   17          A.   Okay, I see what you are getting at now.        I -

13:40:55   18      it - I guess it - it was discussed between Craig and -

13:40:57   19      and Dave, and I - and Dave - I guess they - well,

13:41:03   20      obviously it's probably more beneficial if it had been

13:41:06   21      set up there, but that's something that you would have to

13:41:12   22      discuss with Craig, because I honestly don't know.

13:41:19   23          Q.   Okay.     All right.    Give me one quick second.

13:41:24   24          A.   Yep.

13:41:26   25          MS MARKOE:     All right.    I don't have any further



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13:41:27    1      questions.

13:41:31    2          THE VIDEOGRAPHER:      Okay.

13:41:35    3          MR ROCHE:      I have no further questions as well.

13:41:37    4          THE VIDEOGRAPHER:      Okay.   Going off the record at

13:41:39    5      1.41pm.    End of video-taped deposition of Lynn Wright.

13:41:45    6      Total number of tapes, four.

13:41:48    7      Tape stopped.

            8      (1.41pm)

            9                      (Deposition hearing concluded)

           10                 (Exhibits retained by the court reporter)

           11

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     1                           CERTIFICATE OF WITNESS

     2
             I, Lynn Carroll Wright, hereby certify that I have read
     3       the foregoing pages of my deposition of testimony taken
             in these proceedings on January 13, 2020, and with the
     4       exception of the changes listed below and/or corrections,
             if any, find them to be a true and accurate transcription
     5       thereof.

     6

     7                                    ERRATA

     8       Page/Line No.        Description            Reason for Change

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    23       Signed............................

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    25       Date..............................



                                     Epiq
            Suite 204, Level 2, 105 Pitt Street, Sydney, NSW 2000
                          Phone: Int + 61-2-92253500
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         LYNN CARROLL WRIGHT              142               January 13, 2020




     1                       CERTIFICATE OF COURT REPORTER

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     3       I, Sally Hicks of Epiq, hereby certify that the foregoing
             testimony was recorded by me stenographically and
     4       thereafter transcribed by me, and that the foregoing
             transcript is a true and accurate verbatim record of the
     5       said testimony, to the best of my skill and ability.

     6
             I further certify that I am not a relative, employee,
     7       counsel or otherwise financially involved with any of the
             parties of the within cause, nor am I an employee or
     8       relative of any counsel for the parties, nor am I in any
             way interested in the outcome of the within cause.
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             Signed ................................
    15                                   Sally Hicks

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    18       Date....................................

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